Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 1 of 42

Fillin this information to identify the case:

 

Debtor Name Electrotek Corporation

 

United States Bankruptcy Court for the: Northern District of Texas [=]

Case number: 21-30409 mvl11

 

Official Form 425C

Q) Check if this is an
amended filing

 

 

 

 

 

 

 

 

Monthly Operating Report for Small Business Under Chapter 11 12/17
Month: Mar 8 - Mar 31, 2021 Date report filed: oY Lig [rox
MM / DDI WYYY

Line of business: Manufacture Circuit Boards NAISC code: 334412

In accordance with title 28, section 1746, of the United States Code, | declare under penalty of perjury

that | have examined the following small business monthly operating report and the accompanying

attachments and, to the best of my knowledge, these documents are true, correct, and complete.

Responsible party: Electrotek Corporation

Original signature of responsible party Fe ——

Printed name of responsible party Michael J Swerdlow

| 1. Questionnaire
Answer all questions on behalf of the debtor for the period covered by this report, unless otherwise indicated.
Yes No NIA
If you answer No to any of the questions in lines 1-9, attach an explanation and label it Exhibit A.
1. Did the business operate during the entire reporting pericd? QO =
2. Do you plan to continue to operate the business next month? 4 Q Q
3. Have you paid all of your bills on time? Wi C) Q
4. Dld you pay your employees on time? Y QO O
5. Have you deposited all the receipts for your business into debtor in possession (DIP) accounts? i) O
6. Have you timely filed your tax returns and paid all of your taxes? QQ O
7. Have you timely filed all other required government filings? QO) QO)
8. Are you current on your quarterly fee payments to the U.S. Trustee or Bankruptcy Administrator? Q) O |
9. Have you timely paid all of your insurance premiums? 4 Q) Q)
If you answer Yes to any of the questions in lines 10-18, attach an explanation and label it Exhibit B.

10, Do you have any bank accounts open other than the DIP accounts? QO w Q
11. Have you sold any assets other than inventory? Q) iw C8
12, Have you sold or transferred any assets or provided services to anyone related to the DIP in any way? Q) Ww O
13. Did any insurance company cancel your policy? QO wy OO
14, Did you have any unusual or significant unanticipated expenses? Q) w C)
15. Have you borrowed money from anyone or has anyone made any payments on your behalf? O w Q
16. Has anyone made an investment in your business? QO) w Q)

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11

page 1
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 2 of 42

Debtor Name Electrotek Corporation Case number 21-30409 mvl11

 

 

 

17. Have you paid any bills you owed before you filed bankruptcy? QO YW Q
18. Have you allowed any checks to clear the bank that were issued before you filed bankruptcy? "a O) Q)
| » Summary of Cash Activity for All Accounts
19. Total opening balance of all accounts
g 343,765.84

This amount must equal what you reported as the cash on hand at the end of the month in the previous
month. If this is your first report, report the total cash on hand as of the date of the filing of this case.

20. Total cash receipts

Attach a listing of all cash received for the month and label it Exhibit C. include all
cash received even if you have not deposited it at the bank, collections on
receivables, credit card deposits, cash received from olher parties, or loans, gifts, or
payments made by other parties on your behalf. Do not attach bank statements in
lieu of Exhibit C.

Report the total from Exhibit C here. $274,239.16

21. Total cash disbursements

Attach a listing of all payments you made in the month and label it Exhibit D. List the

date paid, payee, purpose, and amount. Include all cash payments, debit card

transactions, checks issued even if they have not cleared the bank, outstanding

checks issued before the bankruptcy was filed that were allowed to clear this month,

and payments made by other parties on your behalf. Do not attach bank statements

in lieu of Exhibit D. =5 579,793.69

Report the total from Exhibit D here.
22. Net cash flow

Subtract line 21 from line 20 and report the result here.
This amount may be different from what you may have calculated as net profit.

23. Cash on hand at the end of the month
Add line 22 + line 19. Report the result here.
Report this figure as the cash on hand at the beginning of the month on your next operating report.

This amount may not match your bank account balance because you may have outstanding checks that
have not cleared the bank or deposits in transit.

 

las 3. Unpaid Bills

Altach a list of all debts (including taxes) which you have incurred since ihe date you filed bankruptcy but
have not paid. Label it Exhibit E. Include the date the debt was incurred, who is owed the money, the
purpose of the debt, and when the debt is due. Report the total from Exhibit E here.

24. Total payables
(Exhibit E)

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11

+ § 694,445.47

= (038,211.00

5 58,525.93

page 2
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33

Debtor Name Electrotek Corporation Case number 21-30409 mvl11

[i 4. Money Owed to You

Attach a list of all amounts owed to you by your customers for work you have done or merchandise you
have sold. Include amounts owed to you both before, and after you filed bankruptcy. Label it Exhibit F.
Identify who owes you money, how much is owed, and when payment is due. Report the total from
Exhibit F here.

25. Total receivables
(Exhibit F)

 

Page 3 of 42

g1705,148.27

 

ae :. Employees

 

 

 

 

 

 

26. What was the number of employees when the case was filed? B
27. What is the number of emptoyees as of the date of this monthly report? ce
ised 6. Professional Fees
. How much have you paid this month in professional fees related to this bankruptcy case? $ ___ 9.00
29. How much have you paid in professional fees related to this bankruptcy case since the case was filed? $_____—_—9.00
30. How much have you paid this month in other professional fees? $ ___ 9.00
31. How much have you paid in total other professional fees since filing the case? $ 0.00
| £B Projections
Compare your actual cash receipts and disbursements to what you projected In the previous month.
Projected figures in the first month should match those provided at the initial debtor interview, if any.
Column A Column B Column C
Projected — Actual = Difference
Copy lines 35-37 from Copy lines 20-22 of Subtract Column B
the previous month's this report. from Column A.
report.
32. Cash receipts $s STS ee ~ §
33. Cash disbursements Soo — $ ~ §
34. Net cash flow 9 on ee, ~ $n $
35. Total projected cash receipts for the next month: $ 475,000.00

36. Total projected cash disbursements for the next month:

37. Total projected net cash flow for the next month:

~ 5 925,000.00

= 5 -450,000.00

 

 

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11

page 3
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 4 of 42

Debtor Name Electrotek Corporation Case number 21230409 mvli1

ia 8. Additional Information

 

if avallable, check the box to the left and attach copies of the following documenis.

YW 38.
WY 39.
Y 40.
O41.
Q 42.

Bank statements for each open account (redact all but the last 4 digits of account numbers).
Bank reconcillation reports for each account.

Financial reports such as an income statement (profit & loss) and/or balance sheet.

Budget, projection, or forecast reports.

Project, job costing, or work-in-progress reports.

Official Form 425C Monthly Operating Report for Small Business Under Chapter 11 page 4
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 5 of 42

Electrotek Corporation Kotak © ID: SPOON

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

FO0143 Page: 1
CASH RECEIPTS ite 04/15/2021 11:44:22 AM
el 2
DATE FROM 03/08/2021 TO 03/31/2021
CUSTOMER CHECK NO CHECK DATE ENT DATE CHECK AMOUNT DEBIT AMOUNT REFERENCE DESCRIPTION DISCOUNT AMOUNT
1159 ADCO Circvits 60462 03/25/2021 03/25/2021 8,020.00 6.00
INV-101516 Invoice 0.00 8,020.00
8,020.00 0.00 0.00 8,020.00
1084 ATEK Products LLC 1004598 03/29/2021 03/29/2021 1,904.32 0.00
INV-101448 Invoice 0.00 1,804.32
1,804.32 0.00 0.00 1,804.32
1754 Aimtron Systems, LLC w 03/29/21 03/29/2021 03/29/2021 1,970.92 0.00
INV-101599 Invoice 0.00 1,970.92
1,970.92 0.00 0.00 1,970.92
1254 Avionics Interface Tech w 03/12/21 03/12/2021 03/12/2021 1,492.01 0.00
INV-101392 Invoice 0.00 1,492.01
1,492.01 Q.00 0.00 1,492.01
8655 Avtec, Inc. 34320 03/29/2021 03/29/2021 4,158.52 0.00
INV-101502 Invoice 0.00 4,158.52
4,158.52 0.00 0.00 4,158.52
2429 Aztalan Engineering Inc. 63838 03/11/2021 03/11/2021 2,157.30 0.00
INV-101370 Invoice 0.00 2,157.30
2,157.30 0.00 0.00 2,157.30
8430 BW Papersystems §51951 03/08/2021 03/08/2021 15,350.00 0.00
INV-101357 Invoice 0.00 4,700.00
INV-101445 Invoice 0.00 10,650.00
552455 03/23/2021 03/23/2021 1,872.00 0.00
INV-101395 Invoice 0.00 1,872.00
17,222.00 0.00 0.00 17,222.00
nS. Copyright © 1988 - 2021 Aptean Paradig® Version 4.0

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 6 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Electrotek Corporation sj ; ID: SPOON
P Yom le & wr co
F0143 Page: 2
CASH RECEIPTS Pan sk G 04/1 5/2021 11:44:22 AM
DATE FROM 03/08/2021 TO 03/31/2021
CUSTOMER CHECK NO CHECK DATE ENT OATE CHECK AMOUNT DEBIT AMOUNT REFERENCE DESCRIPTION DISCOUNT AMOUNT
1702 Benchmark Electronics (Suzhou) w 03/25/24 03/25/2021 03/25/2021 8,985.00 0.00
INV-101383 Invoice 0.00 1,250.00
INV-101390 Invoice 15.00 7,735.00
8,985.00 0.00 15.00 8,985.00
1878 Bird Technologies w 03/31/21 03/31/2021 03/31/2021 1,754.80 0.00
INV-101358 Invoice 0.00 1,754.80
1,754.80 0.00 0.00 1,754.80
1138 CDR Manufacturing, inc 363145 03/16/2021 03/16/2021 1,188.44 0.00
INV-101391 Invoice 0.00 1,188.44
1,188.44 0.00 0.00 1,188.44
2132 Circuit Technology, Inc 24034 03/29/2021 03/29/2021 5,411.70 0.00
INV-101497 Invoice 0.00 5,411.70
5,411.70 0.00 0.00 5,411.70
8535 Creation Technologies WI Inc 530023694 03/08/2021 03/08/2021 1,620.00 0.00
INV-101354 Invoice 0.00 1,620.00
1,620.00 0.00 0.00 1,620.00
1473 Creative Foam Corporation w 03/15/21 03/15/2021 03/15/2021 7,045.50 0.00
INV-101362 Invoice 0.00 4.790.94
INV-101378 Invoice 0.00 2,254.56
7,045.50 0.00 0.00 7,045.50
1389 DRS Training & Control Systems 106129 03/08/2021 03/08/2021 1,207.16 0.00
INV-101189 Invoice 0.00 1,207.16
~ 1,207.16 0.00 0.00 1,207.16

 

Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 7 of 42

 

 

 

 

 

 

 

 

 

Electrotek Corporation Gekibest © ID; SPOON
a VA GY
F0143 Page: 3
CASH RECEIPTS Sirk 04/15/2021 11:44:22 AM
DATE FROM 03/08/2021 TO 03/31/2021
CUSTOMER CHECK NO CHECK DATE ENT DATE CHECK AMOUNT DEBIT AMOUNT REFERENCE DESCRIPTION DISCOUNT AMOUNT
8332 East West Wisconsin, LLC 11933 03/11/2021 03/11/2021 1,372.00 0.00
INV-101300 Invoice 0.00 1,372.00
12025 03/16/2021 03/16/2021 6,880.53 0.00
INV-101333 Invoice 0.00 6,880.53
12106 03/22/2021 03/22/2021 2,791.41 0.00
INV-101372 Invoice 0.00 2,791.41
11,043.94 0.00 0.00 11,043.94
9900 Electratek Corporation w 03/08/21 03/08/2021 03/08/2021 411.96 0.00 Knowbed Refund
215634705 03/11/2021 03/11/2021 73.92 0.00 United States Treasury
215634716 63/11/2021 03/11/2021 1,350.80 0.00 United States Treasury
215648224 03/11/2021 03/11/2021 3,321.85 0.00 United States Treasury
216891059 03/11/2021 03/11/2021 5,380.54 0.00 United States Treasury
216891015 03/11/2021 03/11/2021 2,541.26 0.00 United States Treasury
216891026 03/11/2021 03/11/2021 773.83 0.00 United States Treasury
216891048 03/11/2021 03/11/2021 3,689.11 Q.00 United States Treasury
216891037 03/11/2021 03/11/2021 2,327.07 0.00 United States Treasury
16136959 03/11/2021 03/11/2021 416.41 0.00 UPS
16106237. 03/11/2021 03/11/2021 5,993.97 0.00 UPS
94997383 = 03/24/2021 03/24/2021 121,096.22 0.00 Travelers Insurance
6099780 03/26/2021 03/26/2021 30.25 0.00 FedEx
w 03/29/21 03/29/2021 03/29/2021 700,000.00 0.00 DJ Babaria
847,407.19 0.00 0.00 0.00
1758 Foresite, Inc 2643 03/17/2021 03/17/2021 7,750.00 0.00
INV-101443 Invoice 0.00 7,750.00
7,750.00 0.00 0.00 7,750.00
1821 General Dynamics Land Systems w 03/25/21 03/25/2021 03/25/2021 6,449,94 0.00
INV-101549 Invoice 0.00 6,449.94
6,449.94 0.00 0.00 6,449.94
7078 Grayhill 815798 03/17/2021 03/17/2021 1,188.00 0.00
INV-101505 Invoice 12.00 1,188.00
815986 03/22/2021 03/22/2021 1,660.44 0.00

Copyright © 1988 - 2021 Aptean

 

Paradigm® Version 4.0
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 8 of 42

 

 

 

 

 

 

 

 

 

 

 

 

Electrotek Corporation Guz lat € 1D: SPOON
FO143 Page: 4
CASH RECEIPTS y,rk 04/15/2021 11:44:22 AM
a
DATE FROM 03/08/2021 TO 03/31/2021
CUSTOMER CHECK NO = =CHECK DATE ENT DATE CHECK AMOUNT DEBIT AMOUNT REFERENCE DESCRIPTION DISCOUNT AMOUNT
INV-101543 Invoice 16.77 1,660.44
816196 03/29/2021 03/29/2021 1,423.12 0.00
INV-101558 Invoice 14.38 1,423.12
" _ 4,271.56 0.00 43.15 4,271.56
1489 Jabil Circuit - Florida w 03/17/21 03/17/2021 03/17/2021 51,949.72 0.00
INV-101398 Invoice 0.00 14,356.60
INV-101399 Invoice 0.00 4,665.85
INV-101401 Invoice 0.00 18,600.00
INV-101403 Invoice 0.00 5,246.64
INV-101410 Invoice 0.00 1,674.54
INV-101433 Invoice 9.00 7,406.09
51,949.72 6.00 0.00 51,949.72
1780 Kauffman Engineering w 03/08/21 03/08/2021 03/08/2021 5,992.49 6.00
INV-101307 Invoice 0.00 5,992.49
w 03/19/21 03/19/2021 03/19/2021 8,159.16 0.00
INV-101460 Invoice 0.00 8,159.16
14,151.65 0.00 0.00 14,151.65
1049 MII Electronics 227529 03/17/2021 03/17/2021 20,107.32 0.00
INV-101330 Invoice 0.00 20,107.32
227587 03/29/2021 03/29/2021 37,817.44 0.00
INV-101428 Invoice 0.00 37,817.44
- 57,924.76 0.00 0.00 57,924.76
2455 Marian Milwaukee 798721 03/08/2021 03/08/2021 14,850.00 0.00
INV-101351 Invoice 0.00 6,250.00
INV-101373 Invoice 0.00 8,600.00
14,850.00 0.00 0.00 14,850.00
1787 Northlake Engineering 20006192 03/25/2021 03/25/2021 3,402.00 0,00
INV-101495 Invoice 0.00 3,402.00
Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 9 of 42

Electrotek Corporation 1D: SPOON

 

 

 

 

 

 

 

 

 

 

or 4 i _ .
Cxliket C F0143 Page: 5
CASH RECEIPTS , 04/15/2021 11:44:22 AM
Sof ¢
DATE FROM 03/08/2021 TO 03/31/2021
CUSTOMER CHECK NO = CHECK DATE ENT DATE CHECK AMOUNT DEBIT AMOUNT REFERENCE DESCRIPTION DISCOUNT AMOUNT
3,402.00 0.00 0.00 3,402.00
1378 OAI Electronics, LLC 111379 03/29/2021 03/29/2021 2,240.20 0.00
INV-101523 Invoice 0.00 2,240.20
2,240.20 0.00 0.00 2,240.20
8612 Optical Cable Corporation 100065 03/17/2021 03/17/2021 4,084.08 0.00
INV-101396 Invoice 0.00 4,084.08
4,084.08 0.00 0.00 4,084.08
1894 Plexus Corporation - Illinois w 03/15/21 03/15/2021 03/15/2021 12,181.95 0.00
INV-101416 Invoice 0.00 12,181.95
12,181.95 0.00 0.00 12,181.95
8666 Plexus/Etectronic Assemb w 03/08/21 03/08/2021 03/08/2021 80,570.85 0.00
INV-101389 Invoice 6.00 27,931.20
INV-101393 Invoice 0.00 1,328.85
INV- 101394 Invoice 0.00 9,903.60
INV-101407 Invoice 0.00 945.00
INV-101340 Invoice 0.00 375.00
INV-101411 Invoice 0.00 4,857.60
INV-101412 Invoice 0.00 7,106.40
INV-101397 Invoice 0,00 8,013.60
INV-101388 Invoice 0.00 15,762.60
INV-101408 Invoice 0.00 4,347.00
w 03/15/21 03/15/2021 03/15/2021 50,200.00 0.00
INV-101427 Invoice 0.00 5,006.20
INV-101424 Invoice 0.00 4,905.80
INV~101423 Invoice 0.00 5,443.20
INV-101418 Invoice 0.00 5,027.40
INV- 101434 Invoice 0.00 10,999.80
INV-101431 Invoice 0.00 5,518.80
INV-101436 Invoice 0.00 1,108.80
INV-101386 Invoice 9.00 250.00
INV-101415 Invoice 0.00 11,940.00
130,770.85 0.00 0.00 130,770.85

Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 10 of 42

Etectrotek Corporation D: SPOON

 

 

 

 

 

 

 

 

 

 

 

= yf
Fwelibit F0143 Page: 6
CASH RECEIPTS 04/15/2021 11:44:22 AM
ib me
DATE FROM 03/08/2021 TO 03/31/2021
CUSTOMER CHECK NO = CHECK DATE ENT DATE CHECK AMOUNT DEBIT AMOUNT REFERENCE DESCRIPTION DISCOUNT AMOUNT
1837 Spartan Brooksville LLC 2139 03/11/2021 03/11/2021 974.15 0.00
INV-101241 Invoice 0.00 974.15
974.15 0.00 9.00 974.15
1665 Spartronics 277064 03/08/2021 03/08/2021 12,819.72 0.00
INV-101405 Invoice 0.00 7,496.22
INV-101419 Invoice 0.00 5,323.50
277211 03/17/2021 03/17/2021 7,371.00 0.00
INV-101422 Invoice 0.00 850.50
INV-101455 Invoice 0.00 6,520.50
277354 03/22/2021 03/22/2021 2,708, 31 0.00
INV-101475 Invoice 0.00 2,708.31
22,899.03 0.00 0.00 22,899.03
8036 Teledyne Advanced Elect. Sol. w 03/29/21 03/29/2021 03/29/2021 16,849.67 0.00
INV-101315 Invoice 0.00 8,879.40
INV-101318 Invoice 0.00 2,219.85
INV-101325 Invoice 0.00 5,750.42
16,849.67 0.00 0.00 16,849.67
1603 Zentech Manufacturing Inc 61015 03/08/2021 03/08/2021 1,000.80 0.00
INV-101268 Invoice 0.00 1,000.80
1,000.80 0.00 0.00 1,000.80
GRAND TOTAL \ 2274.239.18 4 0.00 58.15 426,831.97
t
ae

 

 

Base Currency : $ US

“pe Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 

 
33 Page 11 of 42

36

Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17

Details
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK
CHECK

Posting Date
03/09/2021 CHECK 3915
03/09/2021 CHECK 3938
03/09/2021 CHECK 3945
03/08/2021 CHECK 3963
03/08/2021 CHECK 3965
03/13/2021 CHECK 3992
03/15/2021 CHECK 3995
03/23/2021 CHECK 4020
03/08/2021 CHECK 4023
03/17/2021 CHECK 4025
03/12/2021 CHECK 4026
03/22/2021 CHECK 4027
03/19/2021 CHECK 4029
03/22/2021 CHECK 4031
03/22/2021 CHECK 4032
03/23/2021 CHECK 4033
03/19/2021 CHECK 4034
03/17/2021 CHECK 4035
03/23/2021 CHECK 4036
03/19/2021 CHECK 4037
03/22/2021 CHECK 4038
03/23/2021 CHECK 4039
03/22/2021 CHECK 4040
03/22/2021 CHECK 4041
03/26/2021 CHECK 4042
03/26/2021 CHECK 4044
03/29/2021 CHECK 4045
03/24/2021 CHECK 4046
03/26/2021 CHECK 4047
03/23/2021 CHECK 4048
03/29/2021 CHECK 4049
03/24/2021 CHECK 4050
03/29/2021 CHECK 4051
03/26/2021 CHECK 4052
03/26/2021 CHECK 4053
03/24/2021 CHECK 4054
03/26/2021 CHECK 4055
03/30/2022 CHECK 4056
03/24/2021 CHECK 4057
03/26/2021 CHECK 4059
03/26/2021 CHECK 4060
03/30/2021 CHECK 4061
03/30/2021 CHECK 4062
03/26/2021 CHECK 4063
03/30/2021 CHECK 4064
03/29/2021 CHECK 4065
03/26/2021 CHECK 4066
03/31/2021 CHECK 4071
03/31/2021 CHECK 4082
03/31/2021 CHECK 4034

03/26

Description

Amount Type
-184.50 CHECK PAID
-1,165.25 CHECK_PAID
-2,136.68 CHECK_PAID
-1,489.59 CHECK_PAID
-6,631.30 CHECK_PAID
-5,637,.80 CHECK_PAID
-79.80 CHECK_PAID
-§1.00 CHECK_PAID
~406.50 CHECK_PAID
-1,592.00 CHECK_PAID
-129.58 CHECK_PAID
-3,120.15 CHECK_PAID
-728,00 CHECK_PAID
-1,995.11 CHECK_PAID
-242.92 CHECK_PAID
-2,2B9.00 CHECK_PAID
-50.03 CHECK_PAID
~433.97 CHECK_PAID
-362.50 CHECK_PAID
-1,276.50 CHECK_PAID
-4,255.90 CHECK_PAIO
461.45 CHECK_PAID
-5,846.72 CHECK_PAID
-1,820.00 CHECK_PAID
-1,676.00 CHECK_PAID
-123,00 CHECK_PAID
-236.00 CHECK_PAID
-360.56 CHECK_PAID
-282.00 CHECK_PAID
-2,650,00 CHECK_PAID
-319.20 CHECK_PAID
-463.42 CHECK_PAID
-94.95 CHECK_PAID
-1,367.00 CHECK_PAID
-7,359.62 CHECK_PAID
-6,486.39 CHECK_PAID
-360.00 CHECK PAID
-55.00 CHECK_PAID
-4,926.90 CHECK_PAID
-1,592,00 CHECK_PAID
-1,130.50 CHECK_PAID
-91.75 CHECK_PAID
-1,033,00 CHECK_PAID
-2,506.92 CHECK_PAID
-1,722.76 CHECK_PAID
-129.58 CHECK_PAID
-2,037.39 CHECK_PAID
-301.87 CHECK_PAID
-469.55 CHECK_PAID
-1,458.12 CHECK_PAID

Check or Slip #
3915
3938
3945
3963
3965
3992
3995
4020
4023
4025
4026
4027
4029
4031
4032
4033
4034
4035
4036
4037
4038
4039
4040
4041
4042
4044
4045
4046
4047
4048
4049
4050
4051
4052
4053
4054
4055
4056
4057
4059
4060
4061
4062
4063
4064
4065
4066
4071
4082
4084

Cut Vender
02/23/2021 OCCUPATIONAL HEALTH CENTERS
02/23/2022 RMS QUALITY SERVICE
02/23/2021 TCT CIRCUIT SUPPLY INC
03/01/2021 VENTEC USA LLC
03/02/2021 TAO AMERICA INC
03/02/2021 MACDERMID INC.

03/02/2021 ROBIN MUELLER-CLINE
03/05/2021 AUTO MACHINE TECHNOLOGIES
03/05/2021 NELSON CONTAINER CORPORATION
03/09/2021 CIRCUIT SOLUTIONS LLC
03/11/2021 N & M TRANSFER CO INC
03/12/2021 ZORN COMPRESSOR & EQUIPMENT
03/16/2021 SPECIALTY COATING SYSTEMS INC
03/16/2021 VENTEC USA LLC

03/17/2021 TAPECASE LTD

03/17/2021 EXCELLON ACQUISITION LLC
03/17/2021 MIKE SWERDLOW

03/17/2021 MICHELLE HORTON

03/17/2021 INTEGRATED PROCESS SYSTEMS
03/18/2021 ECEMS

03/18/2021 TRESTER HOIST & EQUIPMENT
03/18/2021 LAKELAND SUPPLY INC
03/18/2021 WOODS & ASSOCIATES
03/19/2021 OLM TECHNOLOGIES

03/22/2021 CHEMA TECHNOLOGY
03/22/2021 OCCUPATIONAL HEALTH CENTERS
03/22/2021 FEDEX

03/22/2021 GRAINGER

03/22/2021 THE CIT GROUP

03/22/2021 DOUGLAS C. JEFFERY

03/22/2021 ROBIN MUELLER-CLINE
03/22/2021 NASSCO INC.

03/22/2021 RMS QUALITY SERVICE
03/22/2021 ROBERT SZRAMEK

03/22/2021 STEVEN SCHWED & ASSOCIATES
03/22/2021 SENTRY INSURANCE

03/22/2021 VALLEY LABS INC

03/22/2021 SABRINA G. WILLIAMSON
03/22/2021 WOODS & ASSOCIATES
03/23/2021 CIRCUIT SOLUTIONS LLC
03/24/2021 CHEMA TECHNOLOGY
03/24/2021 BEARINGS INCORPORATED-SOUTH
03/25/2021 MATHIAS DIE COMPANY INC
03/25/2021 WOODS & ASSOCIATES
03/26/2021 REVERE ELECTRIC

03/26/2021 N & M TRANSFER CO INC
03/26/2021 MIKE SWERDLOW

03/29/2021 BENCHMARK PRODUCTS
03/29/2021 MCMASTER-CARR SUPPLY CO
03/29/2021 NASSCO INC.

Purpose
Employee Drug Screening
Quality Verification
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Expense Reimbursement
Material/Supplies
Material/Supplies
Material/Supplies
Transportation
Repairs
Material/Supplies
Material/Supplies
Material/Supplies
Repairs
Expense Reimbursement
Expense Reimbursement
Material/Supplies
Material/Supplies
Repairs
Material/Supplies
Material/Supplies
Repair
Material/Supplies
Employee Drug Screening
Transportation
Material/Supplies
Material/Supplies
Engineering Contactor
Expense Reimbursement
Material/Supplies
Quality Verification
Repairs
Insurance Reindursment Service
Insurance
Quality Verification
Expense Reimbursement
Material/Supplies
Material/Supplies
Material/Suoplies
Repairs
Material/Supplies
Material/Supplies
Repairs
Transportation
Expense Reimbursement
Material/Supplies
Material/Supplies
Material/Supplies

& 7° \
oO ANYWAY
33 Page 12 of 42

36

Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17

CHECK
CHECK
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DE8IT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT

03/31/2021
03/31/2021
03/10/2021
03/12/2021
03/16/2021
03/16/2021
03/17/2021
03/17/2021
03/17/2021
03/18/2021
03/18/2021
03/18/2021
03/19/2021
03/19/2021
03/19/2021
03/19/2021
03/19/2021
03/19/2021
03/22/2021
03/22/2021
03/22/2021
03/23/2021
03/23/2021
03/23/2021
03/23/2021
03/23/2021
03/24/2021
03/25/2021
03/25/2021
03/26/2021
03/26/2021
03/26/2021
03/29/2021
03/29/2021
03/30/2021
03/30/2021
03/30/2021
03/30/2021
03/31/2021
03/16/2021
03/29/2021
03/30/2021
03/08/2021
03/24/2021
03/25/2021
03/17/2021
03/18/2021
03/31/2021
03/15/2021
03/25/2021
03/10/2021

CHECK 4089

CHECK 4094

Online ACH Payment 5280586060 To IEC (_#####HSOOt
Online ACH Payment 5280898377 To IEC (_##HiHHISODE
Online ACH Payment 5281229122 To AIl4PCB (_##HHHIE
Online ACH Payment 5281233552 To Insulectro (_####
Online ACH Payment 5281343548 To IEC (_#HHHHSODE
Online ACH Payment 5281343831 To MacDermid (_##f
Online ACH Payment 5281372628 To insulectro (_####
Online ACH Payment 5281525537 To Hydrite (_#AHHHS
Online ACH Payment 5281525699 Ta Insulectro (_###H
Online ACH Payment 5281526857 To Technic (_#H##H8
Online ACH Payment 5281679867 To Insulectro (_#i#H
Online ACH Payment 5281688376 To IEC (_##HHHHSO0I
Online ACH Payment 5281688473 To MacDermid (_###
Online ACH Payment 5281701238 To Uline (_####2456}
Online ACH Payment 5281712855 To Chemcut (_ 44H)
Online ACH Payment 5281716174 To Hydrite {_HH#HHHS
Online ACH Payment 5281834627 To Culligan {_##361:
Online ACH Payment 5281848984 To Uyemura (_#H#HiT
Ontine ACH Payment 5281883452 To Insulectro (_##HH
Online ACH Payment 5281947432 To Uyemura (_###HH
Gnline ACH Payment 5281947507 To Insulectro (_####
Online ACH Payment 5281949989 To Chemcut {_#HFiH
Online ACH Payment 5281984667 To IEC {_#AHEAHESOO!
Online ACH Payment 5282004881 To Insulectro (_#HT#
Online ACH Payment 5282061515 To Taiyo (_##HtH15
Online ACH Payment 5282230085 To Buehler (_###837
Online ACH Payment 5282284187 To Chemcut (_##H##i
Online ACH Payment 5282380588 To Chemcut (_####H
Online ACH Payment $282383418 To Insulectro (_#t#H
Online ACH Payment 5282443514 To AGC Nelco Ameri
Online ACH Payment 5282563322 To Digi Key (_##5967
Online ACH Payment 5282591113 To Hawkins (_#s##HF
Online ACH Payment 5282680690 To Insulectro (_HiH#t
Online ACH Payment 5282745716 To Taiyo (_####HH#15
Online ACH Payment 5282748151 To IEC (_###HHHISO0(
Online ACH Payment 5282763360 To MacDermid (_###
Online ACH Payment 5282887200 To Buehler (_####837
ONLINE DOMESTIC WIRE TRANSFER A/C: IPC INTERNAT
ONUNE INTERNATIONAL WIRE TRANSFER A/C: LLOYDS
ONLINE INTERNATIONAL WIRE TRANSFER VIA: BANK O]
ORIG CO NAME:ACCOUNT SERVICES ORIG 1D:14214
ORIG CO NAME:CINTASCORPORATIO ORIG 1D:1311)
ORIG CO NAME:DENTAL SELECT IT ORIGIO:1870487
ORIG CO NAME:INSULECTRO6581 ORIG (D:133050
ORIG CO NAME:MOBILE MINI ORIG ID:18607483
ORIG CO NAME:MOBILE MINI ORIG 1D;18607483
ORIG CO NAME:PAWNEE EQUIPMENT ORIG |ID:1842
ORIG CO NAME:PAWNEE EQUIPMENT ORIG 1D:1847
ORIG CO NAME:PAYCOM ORIG ID:126030246!

~867.21 CHECK_PAID
-8,977.62 CHECK_PAID
-2,820.20 ACH_PAYMENT
-254,09 ACH_PAYMENT
4,687.49 ACH_PAYMENT
-17,660.80 ACH_PAYMENT
~1,876.60 ACH_PAYMENT
-3,670.33 ACH_PAYMENT
-531.00 ACH_PAYMENT
-1,663.75 ACH_PAYMENT
-8,595.68 ACH_PAYMENT
-64.40 ACH_PAYMENT
3,172.00 ACH_PAYMENT
-4,125.00 ACH_PAYMENT
-2,147.93 ACH_PAYMENT
-271,50 ACH_PAYMENT
-271,20 ACH_PAYMENT
-2,952.35 ACH_PAYMENT
-1,410.12 ACH_PAYMENT
-9,000.00 ACH_PAYMENT
-11,124.42 ACH_PAYMENT
-20,401.69 ACH_PAYMENT
3,912.00 ACH_PAYMENT
-1,035.25 ACH_PAYMENT
-4,365.63 ACH_PAYMENT
-1,791.00 ACH_PAYMENT
-1,860.00 ACH_PAYMENT
-403.75 ACH_PAYMENT
-533.80 ACH_PAYMENT
-913.60 ACH_PAYMENT
-2,688,25 ACH_PAYMENT
-3,703.20 ACH_PAYMENT
-25,468.92 ACH_PAYMENT
-512.40 ACH_PAYMENT
-1,230.72 ACH_PAYMENT
-1,230.00 ACH_PAYMENT
-3,223.06 ACH_PAYMENT
-7,799.42 ACH_PAYMENT
-3,522.85 ACH_PAYMENT
+1,105.00 WIRE_OUTGOING
-4,350.00 WIRE_QUTGOING
-980.00 WIRE_OUTGOING
-1,323.76 ACH_DEBIT
-635.36 ACH_DEBIT
3,814.70 ACH_DEBIT
477.65 ACH_DEBIT
-190.17 ACH_DESIT
-58.03 ACH_DEBIT
8,051.70 ACH_DEBIT
-350.50 ACH_DEBIT
-130,080.06 ACH_DEBIT

4089
4094
ACH
ACH
ACH

ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH
ACH

03/29/2021 RIVER RUN COMPUTERS INC
03/29/2021 CITY OF OAK CREEK
03/10/2021 IEC
03/12/2021 IEC
03/16/2021 All4PC8
03/16/2021 Insulectro
03/17/2021 IEC
03/17/2021 MacDermid
03/17/2021 Insulectro
03/18/2021 Hydrite
03/18/2021 Insulectro
03/18/2021 Technic
03/19/2021 Insutectro
03/19/2021 IEC
03/19/2021 MacDermid
03/19/2021 Uline
03/19/2021 Chemcut
03/19/2021 Hydrite
03/22/2021 Culligan
03/22/2021 Uyemura
03/22/2021 Insulectra
03/23/2021 Uyemura
03/23/2021 Insulectro
03/23/2021 Chemcut
03/23/2021 IEC
03/23/2021 tnsulectro
03/24/2021 Taiyo
03/25/2021 Buehler
03/25/2021 Chemcut
03/26/2021 Chemcut
03/26/2021 Insulectro
03/26/2021 Nelco
03/29/2021 Digikey
03/29/2021 Hawkins
03/30/2021 Insulectro
03/30/2021 Taiyo
03/30/2021 IEC
03/30/2021 MacDermid
03/31/2021 Buehler
03/16/2021 IPC
03/29/2021 Exact
03/30/2021 Fried! Enteprise
03/08/2021 Account Services
03/24/2021 Cintas
03/25/2021 Dental Select
03/17/2021 insulectro
03/18/2021 Mobile Mini
03/31/2021 Mobile Mini
03/15/2021 Pawnee
03/25/2021 Pawnee
03/10/2021 Paycom

 

IT Consultant
Taxes
Material/Supplies
Material/Supplies
Repairs
Material/Supplies
Materlal/Supplies

 

Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supp
Material/Supp
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies

  

 

Material/Supplies
Material/Supplies
Material/Supplies
Material/Supplies
Training Supplies
Software
Material/Supplies
Copier Payment
Uniforms
insurance
Material/Supplies
Storage

Storage

Leased Equipment
Leased Equipment
Payroll

re?

a

G 4 \ an
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 13 of 42

DEBIT
DEBIT
DEBIT
OEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT
DEBIT

03/24/2021 ORIG CO NAME:PAYCOM
03/12/2021 ORIG CO NAME:Sentry Life Ins
03/26/2021 ORIG CO NAME:Sentry Life Ins
03/30/2021 ORIG CO NAME:L. P. S.
03/16/2021 ORIG CO NAME:U. P, S.
03/09/2021 ORIG CO NAME:U. P. S.
03/23/2021 ORIG CO NAME:U. P. S.
03/30/2021 ORIG CO NAME:U, P. S.
03/16/2021 ORIG CO NAME:U. P. S.

ORIG 1D:126030246!
ORIG ID:SENTRYINSE
ORIG ID:SENTRYINSE
ORIG 10:2193070436 D
ORIG 10:2193070436 D
ORIG 10:2193070436 D
ORIG 1D:2193070436 D
ORIG 1D:4193070436 D
ORIG 1D:4193070436 D

03/08/2021 ORIG CO NAME:WASTE MANAGEMENT = ORIG 1D:904

-125,884.02 ACH_DEBIT

4,884.58 ACH_DEBIT
-4,978.25 ACH_DEBIT
-1,999.90 ACH_DEBIT
-1,898.54 ACH_DEBIT
-1,187.01 ACH_DEBIT
“1,781.77 ACH_DEBIT
-88.53 ACH_DE@IT
-240.00 ACH_DEBIT
-2,579.58 ACH_DEBIT

-548,358.07

03/24/2021 Paycom

03/12/2021 SENTRY INSURANCE
03/26/2021 SENTRY INSURANCE

03/30/2021 UPS
03/16/2021 UPS
03/09/2021 UPS
03/23/2021 UPS
03/30/2021 UPS
03/16/2021 UPS

03/08/2021 Waste Management

Payroll
Insurance
Insurance
Transportation
Transportation
Transportation
Transportation
Transportation
Transportation
Waste Pickup

hae

G rnvt*sa
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 14 of 42

ann Ast HD
BANK : Chase Bank Date From : 03/01/2021 To : 03/31/2021 H of4
CHECK NUMBER CHECK DATE AMOUNT PAYTO STATUS
2601 08/06/2020 486.84 ACUITY BRAND LIGHTING INC Open Tariff Refund
3909 02/23/2021 2,000.00 APTEAN INC Open Software
4028 03/15/2021 606.02 GLOBAL CUSTOM MACHINE Open Repairs
4067 03/29/2021 360.00 ACCURATE MACHINE SERVICE Open Repairs
4068 03/29/2021 937.45 AIRGAS USA LLC Open Material/Supplies
4069 03/29/2021 190.35 ALLIED HIGH TECH PRODUCTS INC Open Material/Supplies
4070 03/29/2021 908.70 AT&T Open Utility
4072 03/29/2021 50.00 BRENNTAG GREAT LAKES LLC Open Material/Supplies
4073 03/29/2021 255.00 BUEHLER A DIVISION OF Open Material/Supplles
4074 03/29/2021 170.00 C.R.T. INC Open Material/Supplies
4075 03/29/2021 96.50 CHEMA TECHNOLOGY Open Material/Supplies
4076 03/29/2021 120.00 DIETZ ELECTRIC COMPANY Open Repairs
4077 03/29/2021 833.44 DLM TECHNOLOGIES Open Repairs
4078 03/29/2021 84.00 FRED LEVINE SERVICES INC Open Material/Supplies
4079 03/29/2021 1,041.88 HARRINGTON INDUSTRIAL PLASTICS Open Material/Supplies
4080 03/29/2021 410.00 KYOCERA PRECISION TOOLS INC Open Material/Supplies
4081 03/29/2021 2,405.65 MACDERMID INC. Open Material/Supplies
4083 03/29/2021 399.21 MIDWEST SIGN & SCREEN PRINTING Open Materlal/Supplies
4085 03/29/2021 68.25 ORBOTECH INC Open Repairs
4086 03/29/2021 1,792.20 PRECIOUS METAL PROCESSING Open Material/Supplies
4087 03/29/2021 76.30 REDISHRED ACQUISITION INC Open Material/Supplies
4088 03/29/2021 85.51 QUADIENT LEASING USA INC Open Material/Supplies
4090 03/29/2021 35.00 SALTCO Open Material/Supplies
4091 03/29/2021 1,610.00 ST &§ GROUP Open Quality Verification
4092 03/29/2021 264.00 TCT CIRCUIT SUPPLY INC Open Material/Supplies
4093 . 03/29/2021 514.53 TEXAS TECHNOLOGIES Open Material/Supplies
4095 03/29/2021 73,50 ULINE Open Material/Supplies
4096 03/29/2021 360.00 VALLEY LABS INC Open Quality Verification
4097 03/29/2021 159.48 VENTEC USA LLC Open Material/Supplies
4098 03/29/2021 9,420.23 VEOLIA ENVIRONMENTAL SERVICES Open Waste Pickup
4099 03/29/2021 55.00 SABRINA G. WILLIAMSON Open Expense Reimbursement
4101 03/30/2021 1,175.00 G & H ENTERPRISES Open Material/Suppties
4102 03/30/2021 284.00 WIPER TECH Open Material/Supplies
4103 03/30/2021 362.50 INTEGRATED PROCESS SYSTEMS Open Material/Supplies
4104 03/30/2021 96.96 BEARINGS INCORPORATED-SOUTH Open Material/Suppiies
4105 03/30/2021 728.00 PIEPER ELECTRIC INC Open Repairs
4106 03/31/2021 2,920.12 WOODS & ASSOCIATES Open Material/Supplies
31,435.62

+ SHE, 388.07

    

% 574,743. C4
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 15 of 42

 

INVOICE/ ‘DEBIT STATUS DATE DUE DATE PO/REFNUM TOTAL DUE
SUPPLIER : AIRNO AIRGAS USA LLC STATUS :
9111155976 Active 03/18/2021 04/17/2021 PO-099892
SUPPLIER: | AMERA ASSOCIA TEDRACKCO  RPORATION STATUS:
359913 Active 03/19/2021 04/18/2022
SUPPLIER : ASSOC ASSOCIA TED BAG COM PANY STATUS +
220435 Active 03/16/2021 04/15/2021 PO-100274
SUPPLIER:  ATOZR ATOZ REFRIGERATI ON&HVAC STATUS:
8899 Active 03/29/2021 04/28/2021
SUPPLIER: BLANC BLANCA’ 5 CLEANING SERVICESLL C STATUS:
1022 Active 03/29/2021 03/29/2021
SUPPLIER: CINTA CINTAS CORPORATION #447 STATUS :
4078934325 Active 03/18/2021 04/17/2021
4079647243 Active 03/25/2021 04/24/2021
SUPPLIER: | COLON COLONIA —_LLIFE STATUS:
5457049-03 11363 Active 03/25/2021 04/10/2021
SUPPLIER : COMPO COMPDSI TES ONE LLC STATUS :
7879781 Active 03/26/2021 03/26/2021 PO-100338
SUPPLIER: CULL MEREDIT — H'S CULLIGA N WATER STATUS :
740880 Active 03/30/2021 04/29/2021
SUPPLIER: | DLMTE DLM TEC — HNGLOGIES STATUS :
72320 Active 03/14/2021 04/13/2021 PO-100175
SUPPLIER: ECHO ECHOGLO BALLOGISTI CS INC STATUS :
43633422-1 Active 03/26/2021 04/25/2021
SUPPLIER : FEDEX FEDEX STATUS :
7-316-4319 6 Active 03/24/2021 04/08/2021
7-324-3962 7 Active 03/31/2021 04/15/2021

3,432.59 Material/Supply Eykcht+

40.00 Material/Supply
38.54 Materlal/Supply
780.86 Repairs

3,500.00 Cleaning Service

616.12 Uniforms
590.56 Uniforms

1,168.78 Insurance

453.20 Material/Supply

424.50 Material/Supply

418.50 Material/Supply

219.07 Transportation

196.50 Transportation
178.82 Transportation
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 16 of 42

SUPPLIER :
348251

SUPPLIER :
6956171
8000374

SUPPLIER :
110385

SUPPLIER :
4626799
4626808
4626856
4626857

SUPPLIER :
692629

SUPPLIER :
1000486569

SUPPLIER :
03/27/21e

SUPPLIER :
SALESQ0012

SUPPLIER :

2021-24403

SUPPLIER :
21-3-39

SUPPLIER :
9693002138

FILTE FILTER
Active

FISHE FISHER
Active
Active

FLORI FLORIDA
Active

HARIN HARRING
Active
Active
Active
Active

HTMSE HTM SEN

Active
INSUL INSULEC
Active
JEFFE DOUGLAS
xp rpt Active
JMBRE JM BREN
7905 Active
JPTEC JP TECH
Active
LEVIN FRED Lé
Active

MARCH NORDSON
Active

TECHNOLOGY
03/16/2021

SCIENTIFIC
03/16/2021
03/24/2021

CIRTECH
03/30/2021

TON INDUSTR
03/18/2021
03/19/2021
03/26/2021
03/26/2021

SORS
03/23/2021

TRO
03/30/2021

C. JEFFERY
03/27/2021

NAN INC

03/19/2021

03/10/2021

VINE SERVIC
03/16/2021

MARCH
03/25/2024

(AL PLASTIC

STATUS
04/15/2021 PO-099895

STATUS :
04/15/2021 PO-100146
04/23/2021 PO-100146

STATUS :
04/29/2021 PO-100340

S STATUS:
04/17/2021 PO-100233
04/18/2021 PO-100233
04/25/2021 PO-100092
04/25/2021 PO-100170

STATUS :
04/22/2021 PO-100311

STATUS :
04/29/2021 PO-100263

STATUS :
03/27/2021

STATUS :
04/18/2021 PO-099985

STATUS ;

04/09/2021 PO-100208

ES INC STATUS :

04/15/2021 PO-100272

STATUS :
04/24/2021 PO-100280

273.95 Material/Supply

201.26 Material/Supply
341.77 Material/Supply

462.60 Material/Supply

2,340.39 Material/Supply
439.94 Material/Supply
429.55 Material/Supply
379.84 Material/Supply

185.25 Material/Supply

31.20 Material/Supply

3,175.09 Contracted Temp

1,036.01 Repair

3,247.66 Material/Supply

160.00 Material/Suppiy

296.00 Material/Supply
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 17 of 42

SUPPLIER : MCMAS
55032545
55356766

SUPPLIER : MENAR
03/09/21_c harges
03/22/21_c _ harges

SUPPLIER : METRO

281-580031

SUPPLIER : MICRN
999210505

SUPPLIER : MILME

(W-065-21

SUPPLIER : NEFFE

21739535

SUPPLIER : QAKCR
783.9042.0
783,9042.0

SUPPLIER : PRAXA
62511010

SUPPLIER : ROTOR
320820

SUPPLIER : SAFET
855483805

SUPPLIER : SERFI
288329

MCMASTE
Active
Active

CAPITAL
Active
Active

METROHM

$74 Active

MICRONU
Active

MILWAUK

Active

NEFF GR
Active

OAK CRE

1 Active
2 Active

PRAXAIR
Active

RGTO-RO
Active

SAFETY-
Active

SERVICE
Active

R-CARR SUPP Ly co STATUS;
03/17/2021 04/16/2021 PO-100282
03/23/2021 04/22/2021 PQ-100322

ONECOMMER CIAL STATUS ;
03/09/2021 04/08/2021
03/22/2021 04/21/2021

USA INC STATUS :
03/18/2021 04/17/2021 PO-100267

TRIENTS STATUS:
03/17/2021 04/30/2021 PO-100217

EE METRO SE WERAGE STATUS :

03/31/2021 04/30/2021

OUP DISTAIS UTORS STATUS:
03/30/2024 04/29/2021 PO-100281

EK WATER & SEWER STATUS :
03/15/2021 04/20/2021
03/15/2021 04/20/2021

DISTRIBUTI ON INC STATUS :
03/23/2021 04/22/2021

OTER STATUS :
03/15/2021 04/14/2021 PO-100231

KLEEN SYSTE MS INC STATUS :
03/18/2021 04/17/2021

FILTRATION CORP STATUS :
03/22/2021 04/21/2021 PO-100298

596.44 Material/Supply
641.84 Material/Supply

122.47 Material/Supply
55.36 Material/Supply

2,862.40 Material/Supply

2,126.85 Material/Supply

1,211.00 Material/Supply

144,90 Material/Supply

1,371.92 Utility
2,659.23 Utility

219.62 Material/Supply

40.09 Material/Supply

387.47 Material/Supply

1,489.36 Material/Supply

(2 kk iker on

Botd
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 18 of 42

SUPPLIER : SWERD
03/30/21 e xp rpt

SUPPLIER : TAIYO
2021-94704
2021-94736
2021-94767
DbM-009254

SUPPLIER ; TCTC!
INV368913
INV369254

SUPPLIER : TECHU
IN2721942
IN2721984

SUPPLIER : TREST
7254783

SUPPLIER : UNITE
583782131

SUPPLIER : UPSFR
623596352

SUPPLIER : VEOLI
106619216
107218240

SUPPLIER : WACO
$1134834.0

SUPPLIER : WARRE
0057263-IN

MIKE SW
Active

TAIYO &

0 Active
O Active
0 Active

TCT CIR
Active
Active

TECHNIC
Active
Active

TRESTER
Active

UNITED
Active

UPS FRE
Active

VEQLIA,
Active
Active

WILKENS-

1 Active

WARREND

Active

ERDLOW
03/30/2021

MERICA INC
03/10/2021
03/11/2021
03/11/2021
03/30/2021

CUIT SUPPLY
03/12/2021
03/23/2021

AUSA
03/25/2021
03/29/2021

HOIST & EQ
03/26/2021

PARCEL SERV
03/27/2021

IGHT
03/22/2021

STATUS ;
04/04/2021

STATUS :

04/24/2021 PO-100223
04/25/2021 PO-100244
04/25/2021 PO-100252

5282745716

STATUS :
05/11/2021 PO-100265
04/22/2021 PO-100312

STATUS :
04/24/2021 PO-100333
04/28/2021 PO-100201

UIPMENT STATUS ;

04/25/2021 PO-100049

STATUS
04/05/2021

STATUS :
04/02/2021

ENVIRONMENT = AL SERVICES STATUS :

03/22/2021
03/25/2021

ANDERSON
03/25/2021

ER LTD
03/18/2021

04/21/2021 PO-099905
04/24/2021 PO-100086

STATUS :
04/24/2021 PO-100336

STATUS :
04/17/2021 PO-100173

819.33 Material/Supply

931.26 Material/Supply
2,977.47 Material/Supply
334.73 Material/Supply
-1,290.00 Materiai/Supply

348.00 Material/Supply
754.00 Material/Supply

203.28 Material/Supply
289.05 Materlal/Supply

26.76 Material/Supply

2,020.51 Material/Supply

139.39 Transportation

8,072.94 Environmental
3,475.88 Environmental

337.32 Material/Supply

99.20 Material/Supply
33 Page 19 of 42

36

Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17

CUSTOMER

NAME
ATEK Products LLC
Acuity Brands Lighting Inc/GSS
Adtran,|Inc
Aimtron Systems, LLC
Avionics Interface Tech
Circuit Technology, Inc
Compunetix
Connor Winfield Corporation
Creation Technologies WI Inc
Creative Foam Corporation
Crown
DRS Training & Contro} Systems
Delta Group Electronics Inc.
Domico Med- Device
Ducommun Inc OK
EE] MANUFACTURING SERVICES.
East West Wisconsin, LLC
Ensign Power Systems,Inc
Extreme Engineering Solutions
Flextronics Sales Marketing No
GE Healthcare
General Cable
General Dynamics Land Systems
Grayhill
Jabil Circuit - Florida
Jabil Circuit Sdn Bhd
Kauffman Engineering
LeeMAH Electronics, Inc
MT! Electronics
Marian Milwaukee
Molex, LLC
NRI Electronics, Inc.
Nextek, (ne.
Optical Cable Corporation
Orbital Sciences Corporation
Plexus {Xiamen} Co., Ltd
Plexus Manufacturing SDN BHD
Plexus-Baise
Plexus/Electronic Assemb
SFO Technologies Pvt. Ltd
SMTC/MC ASSEMBLY
Saline Lectronics, Inc
Siemens Healthcare GmbH
Smiths Interconnect Americas
Spartronics
Systems Technology, Inc
Tecnova Electronics, tnc
Teledyne Advanced Elect. Sol.
Varitron Technologies
Zentech Manufacturing Inc

 

CUSTOMER

COBE
1084
2307A
2189
1754
1254
2132
2391
1227
8538
1473
1840
1389
2392
2143
8601
2468
8332
2256
1127
1593
8696
2497
1821
7078
1489
1670
1780
1662
1049
2455
1349
1097
1156
8612
2617
1330
2126
1891
8666
1434
1105
1256
1773
1763
1665
1591
1508
8036
2039
1603

<= 30
Dayts}
2,731.52
0
11,163.50
2,695.00
0
~323.4
Qa
0
1,248.00
4,697.00
0
1,851.30
15,663.54
17,324.00
36,179.00
1,552.00
0
0
13,646.38
64,017.59
1,745.70
3,202.00
27,682.79
-2,110.90
255,142.02
5,440,60
4,378.52
0
46,$17.06
13,092.00
4,375.00
1,200.18
23,680.28
a
oO
97,203.70
10,727.17
4,039.10
115,339.50
0
0
48,561.86
120,184.89
0
23,679.42
0
4,016.30
19,252,74
820
5,774.92
1,006,590.28

OVER O DAYS

0

0
3,627.00
0
7,680.00
0
8,839.02
1,829.99
0

0

0
1,196.02
a

-150.64
10,130.12
a
4,295.65
21,108.80
O
39,562.50
0

0

0

0
65,258.74
0
21,525.38
1,300.03
9,991.06
0

o

0
14,302.40
7,560.00
-3,331.73
8,088.23
-13.19
87,876.35
145,744.95
-39,000.00
7,330.92
12,854.46
25,188.45
2,250.00
0
2,669.17
0
72,730.44
1,455.50
oO
542,399.62

OVER & 0.00 BALANCE

61-90
Day(s

ooooaqocondn

402

°
z

eoooac ee 8

|! "

27,282.84
1,163.80
a

Q

0
-6,572.00

eoeoacacaoaoaadgaadg

“1,361.49
-2,B38.00
a
0
0
12,234.39

eoooce.e S&S

31,375.54

>30
Day(s}
Q
260,243.45

N
sd
wo
w

wo o
moooooooo0cocneecne oc ao acaoan

“
2
to

-1,179.97
-128,561.26

a
0
0
0
0

-23,53
-7,504,99
-453.83

ooo oc 0 0

-3,249.09

oo 8

io a

125,782.83

  
      

E,hksr F

TOTAL
2,731.52
260,243.45
14,790.50
2,695.00
7,680.00
-323.4
8,839.02
1,829.99
1,248.00
7,892.00
1,064.00
3,047.32
15,663.54
17,173.36
46,309.12
1,552.00
4,295.65
21,108.80
13,646.38
130,862.93
2,909.50
3,202.00
27,533.84
-3,290.87
185,267.50
5,440.60
26,103.90
1,300.03
56,508.12
13,092.00
8,243.00
1,200.18
37,982.68
7,560.00
-3,331.73
105,268.40
2,708.99
90,100.13
258,246.45
-39,000.00
7,330.92
61,426.32
157,607.73
2,250.00
20,430.33
2,669.17
4,016.30
91,983.18
2,275.50

2s

1,705,148.27

Terms
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Net 30
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 20 of 42

(Rink Stud

A =.
CH \S E o A February 27, 2021 through March 31, 2021
organ ase Dank, NA. amen en 7
P O Box 182051 Account Number: 1386

Columbus, OH 43218 -2051

 

CUSTOMER SERVICE INFORMATION

 

Web site: www.Chase.com
Service Center: 1-877-425-8100
00122843 DAE 201 21009121 NNNNNNNNNNN = 1 000000000 80 0000 Deaf and Hard of Hearing: 1-800-242-7383
ELECTROTEK CORPORATION Para Espanol. 1-888-622-4273
DEBTOR-IN-POSSESSION 21-30409 International Calls: 1-713-262-1679

7745 S 10TH ST
OAK CREEK WI 53154

 

 

CHECKING SUMMARY | Chase Platinum Business Checking

 

 

INSTANCES AMOUNT
Beginning Balance $267,691.07
Deposits and Additions 31 1,625,851.30
Checks Paid 111 -228,514.03
Electronic Withdrawals 80 -§95,101.44
Fees 2 -280.00
Ending Balance 224 $1,069,646.93

Your Chase Platinum Business Checking account provides:

e No transaction fees for unlimited olectronic deposits (including ACH, ATM, wire, Chase Quick Deposit)
* 500 debits and non-elactronic deposits (those macte via check or cash in branches) per statement cycle
e $25,000 in cash deposits per statement cycle

e Unlimited return deposited items with no fee

There are additional fee waivers and benefits associated with your account — please refer to your Deposit Account
Agreement for more information.

 

 

 

 

 

 

DEPOSITS AND ADDITIONS

DATE DESCRIPTION AMOUNT
03/01 Lockbox No: 734899 For 4 |tems At 16:00 5 Trn: 2100127060Lb $42,259.45
03/01 Orig CO Name:Prysmian Orig !D: 1000007995 Desc Date:210301 CO Entry 5,037.00

Deser:Payments Sec:CTX Trace##:021000029730316 Eed:210301 Ind ID:2100000977
Ind Name:0008Electrotek Corpo Trn: 0609730316Tc

 

 

 

03/01 Orig CO Name: Aimtron Systems Orig 1D:P814658636 Desc Date:210301 CO Entry 2,015.76
Descr: ACH Sec:CCD  Trace#:071926659730326 Eed:210301 Ind 1D:Electrotek
Team Ind Name:Electrotek Corporation
0034190837 Trn: 0609730326Tc
03/02 Lockbox No: 734899 For 2 Items At 16:00 5 Trn: 2100444061Lb 15,213.62
03/02 Orig GO Name:Plexus Corp, Orig 1D:2391344447 Desc Date: CO Entry 87,551.36

Deser:Corp Pmt Sec:CTX Trace#:111000025639204 Eed:210302 Ind 1D:3573Pt658889
Ind Name:0012Electrotek Corpo Trn: 0615839204Te

03/03 Chips Credit Via: Hsbc Bank USA, N_A/0108 B/O: Plexus (Xiamen) CO., Ltd Ree Trade 114,090.62
Zone Fujian China/Cn Ref: Nonf=Electrotek Corporation Oak Creek WI 53154-1997
US/Ac-000000005873 Org=/Cnhsbc00301 2598055 Ree Trade Zone Fujian China/Cn
Ogb=le Hsbe Ba Nk China A/C Pudong Shanghai 200120 China Obi=1563447Pk66896 5
Ssn: 0185741 Trn: 41460900062Fe

Page 1 of 10

UA

 

O1228430507000000025.
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 21 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_
CHAS E ay February 27, 2021 through March 31, 2021
Account Number; 9 777 7386
DEPOSITS AND ADDITIONS| “o7uee oe
DATE DESCRIPTION AMOUNT
03/03 Orig CO Name: Jabil Defense & Orig 1D:9502138032 Desc Date:210302 CO Entry 52,684.20
Descr:Payments Sec:CTX Trace#:021000020832446 Eed:210303 Ind 1D:20000588 12
Ind Name:0015Electrotek Corpo Tm: 0620832446Tc
03/05 Lockbox No: 734899 For 1 Items At 16:00 5 Tm: 2100916064Lb 32,760.13
03/08 Lockbox No: 734899 For 7 Items At 16:00 5 Tm: 210151 9067Lb 47,259.64
08/08 Orig CO Name:Plexus Corp. Orig 1D:2391344447 Desc Date: CO Entry 80,570.85
Deser:Corp Pmt Sec:CTX Trace#:111000024875701 Eed:210308 Ind ID:3573P1659457
Ind Name:0012Electrotek Corpo Tm: 0674875701Tc
03/08 Orig CO Name:Kauffman Enginee Orig ID:4270422086 Desc Date: CO Entry 5,992.49
Descr:Vendor Pmtsec:CCD Trace#:121140394875699 Eed:2103808 Ind ID:24597
Ind Name:Electrotek Corporation
1397 Tm: 0674875699Tc
03/11 Lockbox No: 734899 For 13 Items At 16:00 5 Tm: 2101053070Lb 30,372.21
03/12 Orig CO Name: Teradyne Ince Orig ID: 1042272148 Desc Date: CO Entry 1,492.01
Deser:‘Corp Pmt Sec:CCD Trace#:051000014714751 Eed:210312 Ind 1D:324190
Ind Narne:Electrotek Corporation Tm: 0714714751Tc
08/15 Orig CO Name:Plexus Corp, Orig 1D:2391344447 Desc Date: CO Entry 62,381.95
Deser:Corp Pmt Ssc:CTX Trace#:111000021501410 Eed:210315 Ind ID:3573Pt660120
Ind Name:0012Electrotek Corpo Tm: 0741501410Tc
03/15 Orig CO Name: Crieco1449 Orig 1D: 1381905348 Desc Date: CO Entry 7,045.50
Deser:Corp Pay Sec:CCD Trace#:072000091501408 Eed:210315 Ind ID:Electrotek
Ind Name:Electrotek Corporation Tm: 0741501 408Tc
03/16 Lockbox No: 734899 For 2 Items At 16:00 5 Tm: 2101218075Lb 8,068.97
03/17 Lockbox No: 734899 For 5 Items At 16:00 5 Tm: 2100721076Lb 40,500.40
03/17 Orig CO Name: Jabil Defense & Orig ID:9502138032 Desc Date:210316 CO Entry 51,949.72
Descr:Payments Sec:CTX Trace#:021000023391072 Eed:210317 Ind ID:2000059031
Ind Name:0013Electrotek Corpo Tm: 0763391072Tc
03/19 Orig CO Name:Kauffman Enginee Orig ID:4270422086 Desc Date: CO Entry 8,159.16
Descr:Vendor Pmtsec:CCD  Trace#:121140396279867 Eed:210319 Ind ID:24726
Ind Name:Electrotek Corporation
1397 Tm: 078627S867Tc
03/22 Lockbox No: 734899 For 3 Items At 16:00 5 Tm: 2101212081Lb 7,160.16
03/23 Lockbox No: 734899 For 1 Itams At 16:00 5 Tm: 2100737082Lb 1,872.00
03/24 Lockbox No: 734899 For 1 Items At 16:00 5 Tm: 2100444083Lb 121,096.22
03/25 Book Transfer Credit B/O: Agricultural Bank of China Limited Beijing China 10003-7 Cn 8,985.00
Org:/10551314040009407 1/Benchmark Electronics (Suzhou) Ogb: Agricultural Bank of
China, The Suzhou China Cn Ref: Goods/Chgs/USDO,/Chgs/USD15,00/Ocmt/USD9000,/
Tm: 5231 156084Fs
03/25 Lockbox No: 734899 For 2 Items At 16:00 5 Tm: 2101000084Lb 11,422.00
03/25 Orig CO Name:Gdls Accounts PA — Orig 1D: 1540582680 Desc Date: Co Entry 6,449,94
Descr:EDI Pymntssec:CCD  Trace#:091000014315753 Eed:210325 Ind 1D:81013299
Ind Name:Electrotek Corporation
EDI Tm: 0844315753Tc
03/26 Lockbox No: 734899 For 1 Items At 16:00 5 Trn: 2100804085Lb 30.25
03/29 Lockbox No: 734899 For 6 Items At 16:00 5 Tm: 2100590088Lb 52,855.30
03/29 Online Transfer From Chk ...9690 Transaction#: 11469321518 700,000.00
03/29 Orig CO Name: Teledyne Ems Orig [D: 1251843385 Desc Date: CO Entry 16,849.67
Deser:Trade Pay Sec:OCD  Trace#:111000028582339 Eed:210329 Ind ID:
Ind Name:Electrotek Corporation Tm: 0888582339Tc¢
03/29 Orig CO Name: Aimtron Systems Orig ID:P814658636 Desc Date:210329 CO Entry 1,970,92
Descr: ACH Sec:CCD _ Trace#:071926658582341 Eed:210329 Ind |D:Electrotek
Team Ind Name:Electrotek Corporation
_ 0024190837 Tm: 0888582341Tc
03/31 Orig CO Name:Bird Tech, Group Orig ID: 1340926595 Desc Date:210330 CO Entry 1,754.80
Descr:Payments GSec:CCD  Trace#:041001038512632 Eed:210331 Ind ID:42865
Ind Name:Electrotek Corporation _ Payment# EFT49853 $1,754.80 Tm: 09085 12632Tc
$1,625,851.30

Total Deposits and Additions

Page 2 of 10
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 22 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

=.
CHASE a February 27, 2021 through March 31, 2021
Account Number, ~~ “SL, 217386
CHECKS PAID
DATE

CHECK NO. DESCRIPTION PAID AMOUNT
3831 4 03/01 $400.00
3836 *A 03/01 371.88
3837 4 03/01 2,239.89
3843 *A 03/05 246.00
3849 *A” 03/01 2,000,00
3853 *A 03/01 696.98
3854 4 03/01 400,00
3858 *A 03/01 543,90
3860 *A 03/01 132,60
3867 *A 03/05 1,000.00
3373 *A 03/02 900.00
3874 A 03/02 520,82
3878 *A 03/03 4,000.00
3906 *” 03/02 583.95
3907 4“ 03/02 2,383.80
3908 A 03/02 334,53
3910 *A 03/01 1,470.20
3911 4 03/01 924.85
3912 A 03/01 317.21
3913 4 03/01 ‘ 3,750.00
3915 *A 03/09 184.50
3916 4“ 03/02 2,265.45
3917 4” 03/02 7,500.00
3918 A 03/02 364,07
3919 “ 03/03 2,277.67
3920 4 03/01 280.19
3921 4“ 03/01 1,503.15
3923 *A 03/02 244.63
3924 A 03/03 400.00
3925 4 03/01 88.29
3926 4“ 03/05 3,016.12
3927 4“ 03/01 516.11
3928 “4 03/02 8.16
3929 4“ 03/02 9,608.80
3930 “4 03/03 6,000.00
3931 4 03/01 1,000.00
3932 * 03/03 10,000.00
3933 4 03/03 329,00
3934 4 03/05 2,000.00
3935 “ 03/04 4.38
3936 “4 03/05 1,500,00
3938 °*A _ 03/09 1,165.25
3939 A“ 03/03 672.00
3940 “A 03/05 1,332.50
3941 A” 03/05 326.53
3942 4 03/03 236,94
3943 A 03/01 6,486.43
3944 “A 03/02 5,449.32
3945 4“ 03/09 2,136.68
3946 “4 03/04 720,61

 

Page 3 of 10

MMI

1122R4 0502000000065
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 23 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

La
CHASE ww February 27, 2021 through March 31, 2021
Account Number: Lt 7386

CHECKS PAID |_{coninuee)

CHECK NO. DESCRIPTION PAD AMOUNT
3947 *“ 03/02 479.29
3949 *“ 03/02 2,215.00
3951 *“ 03/03 3,786.00
3952 4 03/01 8,609.78
3953 “ 03/01 338.32
3955 “A 03/03 254,00
3956 “ 03/03 9,483.58
3960 *A 03/01 406.50
3961 “ 03/05 15,480.04
3963 *A 03/08 1,489.59
3965 *“ 03/08 6,631.30
3971 *” 03/03 3,500.00
3987 *” 03/03 03/03 2,700.00
3g92 *A 03/11 5,637.80
3995 *A 03/15 79,80
4020 *” 03/23 51.00
4022 *A 03/05 2,450.00
4023 4 03/08 406.50
4025 *” 03/17 1,592.00
4026 4 03/2 129.58
4027 4 03/22 3,120.15
4029 *A 03/19 728.00
4031 ** 03/22 1,995.14
4032 *% 03/22 242.92
4033 4 03/23 2,289.00
4034 “ 03/19 50.03
4035 “4 03/17 433.97
4036 A 03/23 362.50
4037 “ 03/79 1,276.50
4038 * 03/22 4,255.90
4039 A 03/23 461.45
4040 “ 03/22 5,846.72
4041 “ 03/22 1,820.00
4042 * 03/26 1,676.00
4044 *A”A _ 03/26 4123.00
4045 “ 03/29 236.00
4046 * 03/24 360.56
4047 4 03/26 282.00
4048 4 03/23 2,650.00
4049 “ 03/29 319.20
4050 “* 03/24 463.42
4051 4 03/29 94.95
4052 A 03/26 1,367.00
4053 4 03/26 7,359.62
4054 4 _ 09/24 6,486.39
4055 4 03/26 360.00
A056 * —_ 03/30 55.00
4057 “ 03/24 4,926.90
4059 *” 03/26 1,592.00
4060 “ 03/26 1,130.50

 

Page 4 of 10
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 24 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHAS E oO February 27 2021 thratinh Marrh 31, 2021
Account Nu ” 7386

CHECKS PAID |_“ominuea)

CHECK NO, DESCRIPTION PAD AMOUNT
4061 4 03/30 91.75.
4062 “4 03/30 | ,033.00
4063 4 08/26 2,506.92
4064 4 03/30 1,722.76
4065 “4 03/29 129.58
4066 “4 03/26 2,037.39
4071 “A 03/31 301.87
4082 *” 03/31 469,55
4084 *A” 03/31 1,458.12
4089 *” 03/31 867.21
4094 "A 03/31 8,977.62
Total Checks Pald $228,514.03

If you see a description in the Checks Paid section, it means that we received only electronic information about the check,
not the original or an image of the check, As a result, we're not able to return the check to you or show you an image.

* All of your recent checks may not be on this statement, either because they haven't cleared yat or they were listed on
one of your previous statements.

4 An image of this check may be available for you to view on Chase.com.

[ELECTRONIC WITHDRAWALS|

DATE DESCRIPTION AMOUNT
03/01 Orig CO Name:Prime Alliance B Orig 1D:1200736982 Desc Date: CO Entry $18,463.56
Descr:Lease Pymisec:CCD Trace#:124303080787838 Eed:210301 Ind ID:3906256
Ind Namo:Electrotek Corporation Trn: 0600787838Tc

 

 

 

 

 

 

 

 

 

 

 

 

03/01 Orig CO Name:We Energies Orlg ID: 13904762We Desc Date:210226 CO Entry 15,000.00
Deser:Payment Seo:Web Trace#:042000010787836 Eed:210301 Ind
1D:07 1094999800003 Ind Name:Electrotek Corporation
Payment Tm: 0600787836T¢
03/01 Orig CO Name:Celtic Leasing C Orig ID: 1830427626 Desc Date: CO Entry Descr:Rent 6,899.00
For Msec:PPD Trace#:242071750787834 Eed:210301 Ind ID:3691A04 Ind
Name:Electrotek Corporation 01 Trn:
0600787834Tc
03/01 Orig CO Name:Celtic Leasing C Orig ID: 1330427626 Desc Date: CO Entry Deser:Rent 2,959.00
For Msee:PPD Trace#:242071750787833 Eed:210301 Ind ID:3691A03 Ind
Name:Electrotek Corporation 01 Trn:
0600787833Te
03/01 Orig CO Name:Celtic Leasing C Orig 1D: 1330427626 Desc Date: CO Entry Deser:Rent 2,578.00
For Msec:PPD Trace#:242071750787832 Eed:210301 Ind |D:3691A02 Ind
Name:Electrotek Corporation 01 Trn:
0600787832Tc —— =
03/01 Orig CO Name:Celtic Leasing C = Orig 1D: 1330427626 Desc Date: CO Entry Deser:Rent 2,230.00
For Msec:PPD Traca#:242071750787831 Eed:210301 Ind 1D:3691A01 Ind
Name:Electrotek Corporation 01 Trn:
0600787831T¢
03/01 03/01 Online ACH Payment 5279468783 To lec (_#ii####5006) 7,438.54
03/01 03/01 Online ACH Payment 5279468910 To Uyemura (_######6308) 412,685.32
03/01 03/01 Payment To Chase Card Ending IN 5851 11,145.98
03/01 03/01 Payment To Chase Card Ending IN 1676 4,339,55
03/02 Orig CO Name:|nsulectro658 1 Orig 1D: 1330507970 Desc Date: CO Entry Deser:Pcp 13,869.26
3.1 Sec:CCD Trace#:121137526291120 Eed:210302 Ind 1D:14467 Ind
Name:Electrotek Corporation Trn: 0616291 120Tc
03/02 Orig CO Name:U. P. S. Orig 1D:2193070436 Desc Date: CO Entry Deser:UPS Bill 1,885.87
Sec:CCD  Trace#:091000016291111 Eed:210302 Ind 1ID:210510000583782 Ind
Name:X Resubmit Trn:

0616291111Tc

 

Page 5 of 10

IML

112284S050S000000065
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 25 of 42

 

 

 

CHASE 4
= February 27,2027‘ =" *" rch 31, 2021
Account Number: 17386
[ELECTRONIC WITHDRAWALS] _ (continues)
DATE DESCRIPTION AMOUNT
03/02 Orig CO Name:Cintascarporatio Orig ID: 1311188630 Desc Date: CO Entry 507.14

Descr.DeQ01 Sec:CCD  Trace#:242071756291118 Eed:210302 Ind ID: 1000840114
Ind Name:Electrotek Corp Tm: 0616291118Tc

 

 

03/02 Orig CO Name:U. P. S. Orig 1D:4193070436 Desc Date: CO Entry Deser:UPS Bill 216.47
Sec:CCD Trace#:091000016291109 Eed:210302 Ind 1D:210540000583782 Ind
Name:000001 456961477
Resubmit Tm: 0616291109Tc

03/02 Orig CO Name:Praxair Orig 1D:3941693764 Desc Date:210301 CO Entry 215.55

Descr:Ebillpymissec:CCD Trace#:043000266291122 Eed:210302 Ind 1D:4055880
Ind Name:Electrotek Corporation
2103021 Tm: 0616291122Tc

03/02 Orig CO Name:UPS Parcel Frt Orig |D:9089085701 Desc Date:210302 CO Entry 140.63
Deser:Payments Seo:CCD Trace#:021000026291 114 Eed:210302 Ind 1D:042501760
Ind Name:Ahys Petricek Tm: 0616291114Tc

03/02 Orig CO Name: UPS Parcel Frt Orig ID:9099085701 Desc Date:210302 CO Entry 140.63
Descr.Payments Sec:CCD  Trace#:021000026291 115 Fed:210302 Ind 1D:052867183
Ind Name: Rhys Petricek Tm: 0616291 115Tc

03/02 Orig CO Name:UPS Parcel Frt Orig |D:9099085701 Desc Date:210302 CO Entry 129.16
Descr:Payments Sea:CCD Trace#:021000026291116 Eed:210802 Ind !D:220475846
ind Name:Rhys Petricek Tm: 0616291 116Tc

03/02 Orig CO Name:UPS Parcel Frt Orig 1D:9099085701 Desc Date:210302 CO Entry 128.47
Deser'Payments See:CCGD Tracei#:021000026291 113 Eed:210302 Ind 1D:840710113
Ind Name: Rhys Petricek Tm; 0616291 113T¢

03/03 Orig CO Name:Humana, Inc. Orig ID:9040604802 Desc Date:210301 CO Entry 36,444.05

Deser:Ins Pymt Sec:PPD  Trace#:028000081417355 Eed:210303 Ind ID:246433403001246
Ind Name:433764Electrotek Tm: 0621417355Te

 

 

 

 

 

 

03/03 03/03 Online ACH Payment 5279812290 To lec (_###HHAI5006) 791.75
03/08 Orig CO Name:Waste Management Orig 1D:9049038216 Desc Date:210305 CO Entry 1,579.58
Deser:Intemet Sec:Web Trace#:049305135834315 Eed:210308 Ind 1D:043000091675722
Ind Name:Petricek Ahys Telechk
800-697-9263 Tm: 0675834315Tc
03/08 Orig CO Name:Account Services Orig ID: 1421425592 Desc Date: CO Entry Descr:Web 1,323.76
Pymni Seo:Web — Trace#:11 1000025834317 Eed:210308 Ind !D:218226212 Ind

Name:Electrotek Corporation Tm: 0675834317Tc

 

 

03/09 Orig CO Name:U. P. S. Orig 1D:2193070436 Desc Date: CO Entry Deser. UPS Bill 1,187.01
Sec:CCD Trace#:091000018280148 Eed:2103809 Ind ID:210580000583782 Ind
Name:X Resubmit Tm:
0688280148Tc

03/10 Orig CO Name:Paycom ' Orig 1D: 1260302465 Desc Date: CO Entry 130,080.06

Descr:Paycom Paysec:CCD  Trace#:021000026766942 Eed:210310 Ind ID:Ai21
Ind Name:Electrotek Corporation Trn: 0696766942Tc

 

 

 

03/10 03/10 Online ACH Payment 5280586060 To lec (_####HH#5006) 2,820.20
03/12 Orig CO Name:Sentry Life Ins Orig 1D:Sentryins5 Deseo Date:031121 CO Entry Descr:401K 4,884.58
Pmt Sec:CCD  Trace##:091000015352260 Eed:210312 Ind 1D:102974603 Ind
Name:Electratek 401(K) Plan 401K_O
Tm: 0715352260Te
03/12 03/12 Online ACH Payment 5280898377 To lec (_##HHHHSO06) 254.09
03/15 Orig CO Name:Pawnee Equipment Orig 1D: 1842938737 Desc Date:031221 CO Entry 8,051.70

Descr:Lease Pmt Sec:CCD  Trace#:021000022482739 Eed:210315 Ind 1D;369611
Ind Name:Etectrotek Corporation Tm: 0742482739Tc

 

 

 

 

 

03/16 Orig CO Name:U. P. S. Orig 1D:2193070436 Desc Date: CO Entry Descr:UPS Bill 1,898.54
See:CCD  Trace#:091000017251840 Eed:210316 Ind [D:210650000583782 Ind
Name:X Resubmit Trn:
0757251840Tc
0316 Orig CO Name:U. P. S. Orig |D:4193070436 Desc Date: CO Entry Descr:UPS Bill 240.00
Sec:CCD  Trace#:091000017251838 Eed:210316 Ind 1D:210630000583782 Ind
Name:000001459202424
Resubmit Trn: 0757251838Tc _
03/16 03/16 Online ACH Payment 5281229122 To All4Pch (_###44#6079) 4,687.49
03/16 03/16 Online ACH Payment 5281233552 To (nsulectro (_#HHt###658 1) 17,660.80

 

Page 6 of 10
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 26 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CHASE &
February 27, 2994 theniiah March 31, 2021
Account Numb ~ ;7386
[ELECTRONIC WITHDRAWALS |_(continvec)

DATE DESCRIPTION AMOUNT
03/16 03/16 Online Domestic Wire Transfer A/C: Ipe International Inc Bannockburn IL 60015-1249 US 1,105.00

Trn: 3368531075Es
03/17 Orig CO Name:lnsulectro658 1 Orig ID: 1330507970 Desc Date: CO Entry Deser:Pcp 477.65

3.16 Sec:CCD Trace#:121137523947981 Eed:210317 Ind 1D: 14500 Ind

Name:Electrotek Corporation Tm: 0763947981Tc
03/17 _03/17 Online ACH Payment 5281343848 To lec (_######5006) 1,876.60
03/17 03/17 Online ACH Payment 5281943831 To Macdermid (_####3943) 3,670.33
03/17 08/17 Online ACH Payment 5281372628 To Insulectro (_#####4658 1) 531,00
03/18 Orig CO Name:Mobile Min! Orlg ID; 1860748362 Desc Date:A21076 CO Entry 190,17

Deser:8004561751Sec:PPD Trace#:091900014849140 Eed:210318 Ind

ID:2Mafidf8ROFSFue Ind Name:Electrotek Corp Trn: 0774849140T¢
03/18 _ 03/18 Online ACH Payment 5281525537 To Hydrite (_#####5743) 1,663.75
03/18 03/18 Online ACH Payment 5281525699 To Insulectro (_######6581) 8,595.68
03/18 03/18 Online ACH Payment 5281526857 To Technic (_####18434) 64,40
03/19 _03/19 Online ACH Payment 5281679867 To Insulectro (_#4####4658 1) 3,172.00
03/19 03/19 Online ACH Payment 5281688376 To lec (_##HHHH5006) 4,125,00
03/19 03/19 Online ACH Payment 5281688473 To Macdermid (_####3943) 2,147.93
03/19 03/19 Online ACH Payment 5281701238 To Uline (_###2466) 271.50
03/19 03/19 Online ACH Payment 5281712855 To Chemeut (_#4HHHHI3594) 271.20
03/19 03/19 Online ACH Payment 5281716174 To Hydrite (_##HH##5743) 2,952.35
03/22 03/22 Online ACH Payment 5281834627 To Culligan (_##3612) 1,410.12
03/22 03/22 Online ACH Payment 5281848984 To Uyemura (_#HHHHHI6308)} 9,000.00
03/22 03/22 Online ACH Payment 5281883452 To Insulectro (_######658 1) 11,124.42
03/23 Orig CO Name:U. P. S. Orig ID:2193070436 Desc Date: CO Entry Deser:UPS Bill 1,781.77

Sec:CCD  Trace#:091000019215502 Eed:2103823 Ind 1D:210720000583782 Ind

Name:X Resubmit Trn:

0829215502Tc
03/23 03/23 Online ACH Payment 5281947432 To Uyemura (_#######630B) 20,401.69
03/23 03/23 Online ACH Payment 5281947507 To Insulectro (_HHHH6581) 3,912,00
03/23 _ 03/23 Online ACH Payment 5281949989 To Chemout (_##HH#3594) 1,035.25
03/23 03/23 Online ACH Payment 5281984667 To lec _######5006) 4,365.63
03/23 _ 03/23 Online ACH Payment 5282004881 To Insulectro (_######658 1) 1,791.00
03/24 Orig CO Name:Paycom Orig ID: 1260302465 Desc Date: CO Entry 125,884.02

Deser:Paycom Payses:CCD Trace#:021000028673033 Eed:210324 Ind ID:Ai21
Ind Name:Electrotek Corporation Trn: 0838673033Tc

03/24 Orig CO Name:Cintascorporatio Orig ID:1311188630 Desc Date: CO Entry 635.36
Descr:'De001 Sec:CCD Trace#:242071758673031 Eed:210324 Ind 1D:1000847424
Ind Name:Electrotek Corp Trn: 0838673031Ts
03/24 _ 03/24 Online ACH Payment 5282061515 To Taiyo (_#HHHHH 509) 1,860.00
03/25 Orig CO Name:Dental Select It Orig 1D:1870482115 Dese Date:210325 CO Entry 3,814.70
per eeree Sec:PPD Trace#:021000024857513 Eed:210325 Ind 1D:3/25/2021
Ind Namo: Electrotek Corp Trn: 0844857513Tc
03/25 Orig CO Name:Pawnee Equipment Orlg ID: 1842939737 Dese Date:032421 CO Entry 350,50
Descr:Lease Pmt Sac:CCD Trace#:021000024857515 Eead:210325 Ind 1D:369611
Ind Name: Electrotek Corporation Trn: 0844857515Tc

 

 

 

 

 

 

 

03/25 03/25 Online ACH Payment 5282230085 To Buehler (_###8378) 408.75
03/25 03/25 Online ACH Payment 5282284187 To Chomcut (_######3594) 533.80
03/26 Orig CO Name:Sentry Life Ins Orig ID:SentryinsS5 Deseo Date:032521 CO Entry Deser:401K 4,978.25

Pmt Sec:CCD Trace#:09100001 3280433 Eed:210326 Ind 1D: 103951225 Ind

Name: Electrotek 401(K) Plan 401K_O

Trn: 0853290433T¢
03/26 _ 03/26 Online ACH Payment 5282380588 To Chemeut (_######3594) 913.60
03/26 03/26 Online ACH Payment 5282383418 To Insulectro (_######658 1) 2,888.25
03/26 03/26 Online ACH Payment 5282443514 To Age Nelco America (_#####4461) 3,703.20

 

Page 7 of 10

ca

112284305040000G00685,
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 27 of 42

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| SERVICE CHARGE SUMMARY |

 

Monthly Service Fee $0.00
Other Service Charges $205.00
Total Service Charges $205.00 Will be assessed on 4/1/21

CHASES
= February 27, 2021 through March 31, 2021
Account Number: oo" 17386
[ELECTRONIC WITHDRAWALS] (mince)
DATE DESCRIPTION AMOUNT
03/29 03/29 Online Intemational Wire Transfer A/C: Lloyds Bank Plo Binningham B1 2Ab United 4,350.00
Kingdom Gb Ben:/Gb25Loyd3098 1511885367 Xact Peb Ltd Ref: Inv 21/3089 Invoice Payment
Tm: 3301971088Es
03/29 03/29 Online ACH Payme: 13322 To Digi Key (_##5967) 25,468.92
03/29 032/29 Online ACH Payme . -___- 31113 To Hawkins (_#HHHHHHHO4d69) 512.40
03/30 Orig CO Name:U. P. S. Orig 1D:2193070436 Desc Date: CO Entry Desor:UPS Bill 1,999.90
Sec:CCD  Trace#:0910000 13371080 Eed:210330 Ind 1D:210790000583782 lind
Name:X Resubmit Tr:
089337 1080Tc
03/30 Orig CO Name:U. P. S. Orig 1ID:4193070436 Desc Date: CO Entry Deser:UPS Bill 88.53
Sec:CCD  Trace#:091000013371078 Eed:210330 Ind 1D:210780000583782 Ind
Name:000001 463001348
Resubmit Tm: 089337 1078T«
03/30 _ 03/80 Online ACH Paymer. 0680 To Insulectro (_###446581) 1,230.72
03/30 03/30 Online International Wire Transfer Via: Bank of America, N.A./0959 A/C: The Toronto 980.00
Dominion Bank Toronto 1, Canada Ben: T Friedl Entarprises Inc Toronto On M1ViV3 CA Ref:
PO-100369 Invoice Payment Ssn: 0404722 Tm: 322485108SEs
03/30 03/30 Online ACH Paym 15716 To Taiyo (_###HHHH 509) 1,290.00
03/30 03/30 Online ACH Payme 4151 To lec (_######5006) 3,223.06
03/30 03/30 Online AGH Payment 5282763360 To Macdermid (_###+H#9943) 7,799.42
03/31 Orig CO Name:Mobile Mini Orig |D: 1860748362 Desc Date: A21089 CO Entry 58.03
Descr-8004561751Sec:PPD Trace#:091000019073486 Eed:210331 Ind
ID:2MstwzcOW7H9Ssy Ind Name:Electrotek Corp Tm: 0S08073486Tc
03/31 03/31 Online ACH Payment 5282887200 To Buehler (_4##8378) 3,522.85
Total Electronic Withdrawals $595,101.41
FEES
DATE DESCRIPTION AMOUNT
03/01 Service Charges For The Month of February $205.00
03/03 __ Legal Processing Fee 75.00
Total Fees $280.00
DAILY ENDING BALANCE |
DATE AMOUNT DATE AMOUNT. DATE AMOUNT
03/01 $200,583.05 03/11 353,318.80 03/23 390,950.40
03/02 253,257.06 03/12 349,542.56 03/24 371,429.97
0g/03 339,081.89 03/15 410,838.51 03/25 393,184.16
03/04 338,356.90 03/16 393,315.65 03/26 362,496.68
03/05 343,765.84 03/17 477,184.22 03/29 1,108,061.52
03/08 466, 158.09 03/18 466,670.22 03/30 1,083,547 .38
03/09 461,484.65 03/19 459, 834.87 03/31 1,069,646.93
03/10 328,584.39 03/22 428,179.69

Page 8 of 10
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 28 of 42

CHASE &

February 27, 2021 through March 31, 2021
Account Numt : 37386

 

| SERVICE CHARGE SUMMARY | _(<ntinvec)

The monthly service fee was waived on your Chase Platinum Business Checking account because you maintained the
required relationship balance

 

  

 

 

——

| SERVICE CHARGE DETAIL|

DESCRIPTION VOLUME ALLOWED CHARGED PRICE/ UNIT TOTAL
Monthly Service Fee

Monthly Service Fea Waived 0 $95.00 $0,00
Other Service Charges:

Electronic Credits

Electronic Credits 17 Unilmited 0 $0.40 $0.00
Credits

Non-Electronic Transactions 149 500 0 $0,40 $0,00
Electronic Credits

Domestic incoming Wire Fee 1 Unilmited 0 $15,00 $0,00
International Incoming Wire Fee 1 Unilmited 0 $15.00 $0,00
Miscellaneous Fees

Online US Dollar intl Wire Fee 2 2
Online Domestic Wire Fea 2
Cash Management Services
Onilne ACH Payments Malnt
Online ACH Payments Trans

R1 Economy Lockbox With Image Maintenance

 

 

 

ce

$40.00 $0.00
$25.00 $0,00

=
oo

0
26

$25.00 $50.00
30.00 $0.00

0 $155.00 $155.00 1

Cms Economy Lockbox With Image Items 26 100 $1.55 $0.00 1
Subtotal Other Service Charges (Will be assessed on 4/1/21) $205.00

= ORD
o- On

~ ACCOUNT 000000587317386
Other Service Charges:
Electronic Credite
Electronic Credits 17
Crodits
Non-Electronic Transactlons 149
Electronic Credits
Domestic Incoming Wire Fee 1
Intarnatlonal Incoming Wire Fee 1
Miscellaneous Fees
Ontins US Dollar Intl Wire Fee
Online Domestic Wire Fee
Cash Management Services
Onllne ACH Payments Maint
Onlins ACH Payments Trans
R1 Economy Lockbox With Image Maintenance
Cms Economy Lockbox With Image Items 2

- Ny

an-ohn

1 This charge represents a service provided in a previous month.

Page 9 af 10
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 29 of 42

=~
CHAS E c February 27, 2991 through March 31, 2021

Account Numbr © 7386

 

IN CASE OF ERRORS OR QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS: Call us at 1-866-564-2262 or write us at the
address on the front of this statement (non-personal accounts contact Customer Service) immediately if you Ihink your statement or receipt is
incorrect or if you need more information about a transfer [lsted on the statement or receipt.
For personal accounts only: We must hear from you no later than 60 days after we sent you lhe FIRST statement on which the problem or error
appeared. Be prepared to give us the following information:

° Your name and account number

* The dollar amount of the suspected error

* A description of the error or transfer you are unsure of, why you believe it is an error, or why you nead more information.
We will investigate your complaint and will correct any error pram. Ifwe take more than 10 business days {sr 20 business days for new
accounts) to do this, we will credit your account for the amount you think Is in error so that you will have use of he money during the time it takes
us to complete our investigation.

IN CASE OF ERRORS OR QUESTIONS ABOUT NON-ELECTRONIC TRANSACTIONS: Contact the bank immediately if your statament is
incorrect or if you need more information about any non-electronic transactions (checks or deposits) on this statement. If any Such error appears,
you must notify the bank in writing na later than 30 days after the statement was made available to eeu For more complete details, sea the
Account Rules and Regulations ar other applicable account agreement that governs your account. Deposit products and services are offered by
JPMorgan Chase Bank, NA, Member FD)

ay JPMorgan Chase Bank, N.A. Member FDIC
CENDER

Page 10 of 10
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 30 of 42

mel Ree.

Chase Bank - March 2021

 

 

 

 

Beginning Cash Balance: 267,691.07
Incoming

Date Balance Lockbox Wires
01-Mar-21 200,583.05 42,259.45 7,052.76
02-Mar-21 253,257.06 45,213.62 87,551.36
03-Mar-21 339,081.89 166,774.82
04-Mar-21 338,356.90
05-Mar-21 343,765.84 32,760.13
06-Mar-21 343,765.84
07-Mar-21 343,765.84
08-Mar-21 466,158.09 47,259.64 86,563.34
09-Mar-21 461,484.65
10-Mar-21 328,584.39
11-Mar-21 353,318.80 30,372.21
42-Mar-21 349,542.56 1,492.01
13-Mar-21 349,542.56
14-Mar-21 349,542.56
15-Mar-21 410,838.51 69,427.45
16-Mar-21 393,315.65 8,068.97
17-Mar-21 477,184.22 40,500.40 51,949.72
18-Mar-21 466,670.22
19-Mar-21 459,834.87 8,159.16
20-Mar-21 459,834.87
21-Mar-21 459,834 87
22-Mar-21 428,179.69 7,160.16
23-Mar-21 390,950.40 1,872.00
24-Mar-21 371,429.97 121,096.22
25-Mar-21 393,184.16 11,422.00 15,434.94
26-Mar-21 362,496.68 30.26
27-Mar-21 362,496.68
28-Mar-21 362,496.68
29-Mar-21 1,103,061 52 52,855.30 718,820.59
30-Mar-21 1,083,547.38
31-Mar-21 1,069,646.93 1,754.80

410,870.35 1,214,980.95

Previous month o/s checks 135,154.25

Checks cut but not cleared __ 31,436.62
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 31 of 42

Payroll Entry Great-West Trust 9,862.83
Payroll Entry P/R on Main Account 255,964.08
01-100-01041 Outstanding Checks 31,435.62
01-200-02111 Outstanding Checks 31,435.62
01-100-23020 AGC Nelco America - inventory 3,703.20
01-400-34520 Aismalibar 980.00
01-100-63000 All4-PBC - 0-rins & hooks 847.32
01-500-25300 All4-PBC - brushes 3,500.00
01-500-43056 All4-PBC - tank heaters 340.17
01-100-23020 Arlon - inventory 0.00
01-500-25500 Ascensus Specialties LLC 0.00
01-500-25450 Buehler Ltd 3,926.60
01-500-3087 1 Celtic Leasing - 3691A01 2,230.00
01-500-30872 Celtic Leasing - 3691A02 2,578.00
01-500-30873 Celtic Leasing - 3691A03 2,959.00
01-500-30877 Celtic Leasing - 3691A04 6,899.00
01-200-02119 Chase Credit Card 15,485.53
01-500-43087 Chemcut Corporation 2,753.85
01-700-10751 Dental Select 3,814.70
01-100-23020 Digi-Key 25,468.92
01-100-23060 Hawkins - inventory 512.40
01-700-10750 Humana 36,444.05
01-100-23060 Hydrite - inventory 1,176.00
01-500-25300 Hydrite - inventory 1,564.75
01-500-25500 Hydrite - inventory 481.00
01-500-25900 Hydrite - inventory 1,196.35
01-500-30500 Hydrite - shipping 198.00
01-100-23020 IEC USA INC - inventory 10,880.32
01-100-23060 IEG USA ING - inventory 7,961.95
01-100-23065 IEC USA INC - inventory 4,132.60
01-600-25900 IEC USA ING - inventory 0.00
01-500-30900 IEC USA INC - inventory 389.80
01-500-30500 IEC USA INC - shipping 1,530.20
01-100-23020 Insulectro - inventory 30,588.57
01-100-23030 Insulectro - Inventory 5,816.60
01-100-23035 Insulectro - inventory 6,524.00
01-100-23040 Insulectro - inventory 648.00
01-100-230606 Insulectro - inventory 4,244.70
01-100-23080 Insulectro - inventory 585.00
01-400-31510 Insulectro - inventory 1,335.00
01-500-25100 Insulectro - inventory 964.00
01-700-44025 IPC 1,105.00
01-700-49000 ITAR 0.00
01-500-43054 Jackwin Intl - parts 0.00
01-500-30501 Jackwin Intl - shipping 0.00
01-100-23060 MacDermid Inc - inventory 1,054.90
01-100-23064 MacDermid Inc - inventory 4,885.42
01-100-23068 MacDermid Inc - inventory 1,390.72
01-100-23069 MacDermid Inc - inventory 5,484.85
01-400-33519 MacDermid Inc - cu surcharge 132.00
01-500-30520 MacDermid Inc - petroleum surcharge 258.98
01-500-30500 MacDermid Inc - shipping 410.81
01-100-23020 Matrix - inventory 0.00
01-500-30500 Matrix - shipping 0.00
01-700-45900 Mobile Mini - rent 235.26
01-700-45410 Mobile Mini - tax 12.94
01-500-43087 Orlandi parts 0.00
01-500-30500 Orlandi shipping 0.00
01-500-30878 Pawnee Leasing 8,402.20
01-500-41560 Pill GmbH Technology - parts 0.00
01-500-30506 Pill GmbH Technology - shipping 0.00

01-700-45430 Service Fee 205.00
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 32 of 42

01-100-23020 Showa Denko Materials (America) Inc 0,00
01-100-23070 Talyo - ink inventory 3,150.00
01-500-30500 Taiyo - shipping 0.00
01-100-23061 Technic - inventory 33.65
01-500-30500 Technic - shipping 30.75
01-100-31012 Tetra Financial Group 18,463.56
01-500-25400 Uline - inventory 242.00
01-500-25900 Uline - inventory 28.00
01-500-30500 Uline - shipping 1.50
01-500-30500 UPS autopay 4,657.42
01-500-30600 UPS autopay 4095 67
01-500-30501 UPS Supply Chain Solutions auto pay 545.00
01-700-10500 Unum - Life 0.00
01-700-10450 Unum - AD&D 0.00
01-100-23060 Uyemura - inventory 5,575.00
01-100-23062 Uyemura - inventory 1,725.00
01-100-23063 Uyemura - inventory 22,101.69
01-700-35000 XACT PCB Ltd 0.00
01-700-45430 Fee for filing by TKO Miller 75.00

01-100-01041 Chase - auto withdrawls 276,961.90
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 33 of 42

BANK : Chase Bank Date From : 03/01/2021 To : 03/31/2021 hoop Mf
CHECK NUMBER CHECK DATE AMOUNT PAY TO STATUS
260), 08/06/2020 486.84 ACUITY BRAND LIGHTING INC Open fariff Refuncl
2008 OB / 23/2624 2,000.90 APTEAN IAC pan Sofware
4028 03/15/2021 606.02 GLOBAL CUSTOM MACHINE Open Repairs
4067 03/29/2021 360.00 ACCURATE MACHINE SERVICE Open Repairs
4068 03/29/2021 937.45 AIRGAS USA LLC Open Material/Supplies
4069 03/29/2021 190.35 ALLIED HIGH TECH PRODUCTS INC Open Materlal/Supplies
4070 03/29/2021 908.70 AT&T Open Utility
4072 = 03/29/2021 50.00 BRENNTAG GREAT LAKES LEC Onen Material/Supplies
4073 03/29/2021 255.00 BUEHLER A DIVISION OF Open Material/Supplies
4074 03/29/2021 170.00 C.R.T. INC Open Material/Supplies
4075 03/29/2021 96.50 CHEMA TECHNOLOGY Open Material/Supplies
4076 03/29/2021 120.00 DIETZ ELECTRIC COMPANY Open Repairs
4077 03/29/2021 833.44 DLM TECHNOLOGIES Open Repairs
4078 03/29/2021 84.00 FRED LEVINE SERVICES INC Open Material/Supplies
4079 03/29/2021 1,041.88 HARRINGTON INDUSTRIAL PLASTICS Open Materlal/Supplies
4080 03/29/2021 410.00 KYOCERA PRECISION TOCLS INC Open Materlal/Supplies
4081 03/29/2021 2,405.65 MACDERMID INC. Open Materlal/Supplies
4083 03/29/2021 399.21 MIDWEST SIGN & SCREEN PRINTING Open Material/Supplies
4085 03/29/2021 68.25 ORBOTECH INC Open Repairs
4086 03/29/2021 1,792.20 PRECIOUS METAL PROCESSING Open Material/Supplies
4087 03/29/2021 76.30 REDISHRED ACQUISITION INC Open Material/Supplies
4088 03/29/2021 85.51 QUADIENT LEASING USA INC Open Material/Supplies
4090 = 03/29/2021 35.00 SALTCO Open Materlal/Supplies
4091 03/29/2021 1,610.00 ST & § GROUP Open Quality Verification
4092 03/29/2021 264.00 TCT CIRCUIT SUPPLY INC Open Material/Supplies
4093 03/29/2021 514.53 TEXAS TECHNOLOGIES Open Material/Supplies
4095 03/29/2021 73,50 ULINE Open Material/Supplies
4096 03/29/2021 360.00 VALLEY LABS INC Open Quality Verification
4097 03/29/2021 159.48 VENTEC USA LLC Open Material/Supplies
4098 03/29/2021 9,420.23 VEOLIA ENVIRONMENTAL SERVICES Open Waste Pickup
4099 03/29/2021 55.00 SABRINA G. WILLIAMSON Open Expense Reimbursement
4101 03/30/2021 1,175.00 G & H ENTERPRISES Open Material/Supplies
4102 03/30/2021 284.00 WIPER TECH Open Material/Supplies
4103 03/30/2021 362.50 INTEGRATED PROCESS SYSTEMS Open Material/Supplies
4104 03/30/2021 96.96 BEARINGS INCORPORATED-SOUTH Open Material/Supplies
4105 03/30/2021 728.00 PIEPER ELECTRIC INC Open Repairs
4106 03/31/2021 2,920.12 WOODS & ASSOCIATES Open Material/Supplies

31,435.62
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 34 of 42

Electrotek Corporation ID: SPOON
F0367F Page: 1
income Statement 04/16/2021 3:20:00 PM

As Of March, 2021

 

 

 

 

 

 

goeo- ee - Current Year ---------- >
Current Month YTD
Total Production
Multilayer Production
MLB - Sales 994,404.07 2,557, 304.52
MLB - Tooting 3,800.00 8,550,00
MLB - Testing 825.00 2,175,00
MLB - Returns & Allowances (135,017.48) (171, 452.07)
MLB - WIP Variance 123,776.00 152,483.00
987,787.59 2,549,060.45
Double Sided Production
DS - Sales 172,724.50 506,393.61
DS - Tooling 825.00 1,650.00
DS - Testing 150.00 485.00
DS - WIP Variation 60,421.00 74,774.00
234,120.50 583,302.61
1,221, 908.09 3,132 ,363.06
Cost of Goods Sold
Direct Labor
Direct Labor 112,873.91 327,051.15
112,873.91 327,051.15
Outside Labor
O/L - Plating -00 1,020.00
0/L - Die Blanking 1,023.00 1,350.32
Outside Service - Engineering 380.00 1,165.00
Outside Service-Miscellaneous 100.00 200.00
Outside Service - Inspection 7,636.00 23,203.00
O/L - Tensil Strength-Elong. .00 1,000.00
9,139.00 27,938.32
Material
Film Purchases 5,243.48 10,010.28
Multilayer Purchases 100,350.23 345,211.18
Laminate Purchases 17,027.40 56,042.77
Flex Material Purchases 11,561.01 63,031.00
BU/E Purchases - Dril} Room 7,905.75 31,561.75
Dril? Bit Purchases 1,102.00 9,629.00
Drill] Bit Resharpening 1,431.58 7,143.66
Dry Film Purchases 20,846.58 51,830.33
Plating - Hard & Soft Gold 6,819.80 39,113.25
Plating - Copper 6,095.00 33,196, 32
Plating - ENIG 10,739.94 41,476.17
Placing - Misc. (Reclaim, etc) (2,878.34) (9,908.25)
Plating - Inversion Silver 6,759.66 11,790.86
Plating - Etching SES & DES 4,162.15 12,385.45
Plating - HAL 712,50 2,342.00
Plating - Oxide 1,738.40 5,909, 33
Plating - PTH 13,228.32 37,673.48
Screening Ink Purchases 14,091.71 44,160.93
PISM Inks Purchases .00 1,275.00
BU/E Purchases - Routing Room 1,669.75 4,382.05
Router Bit Purchases 410.00 4,525.90
229,016.92 802,781.56
Indirect Labor
Production Support & Suprvsn 39,250.03 113,490.14
Materials Management 5,870.32 15,058.64
Engineering 21,613.95 59,337.31
Maintenance 20,810.49 51,240.04
Fringe Benefits 26,807.14 79,083.52

ves’ Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 35 of 42

Electrotek Corporation 1D: SPOON
F0367F Page: 2
Income Statement 04/16/2021 3:20:00 PM

As Of March, 2021

 

 

 

 

 

€---------- Current Year ---------- >
Current Month YTO
114,351.93 318, 209.65
Production Supplies
AOI Supplies 68.25 68.25
Photo Supplies 1,675.11 4,146.31
Multilayer Supplies 3,022.00 10,107.25
Drill Room Supplies 1,113.95 5,656.52
Print Room Supplies 357.50 2,837.89
Plating Room Supplies 7,495 ,07 14,892.66
Screening Room Supplies 6,632.03 9,709.16
PISM Room Supplies 818.10 3,510.06
Routing Room Supplies 418.50 1,218.50
Shipping Supplies 2,698.20 9,560.23
P.A.R. Supplies 57.36 57.36
Quality A/C Supplies 8,311.39 19,225,210
Electrical Test Supplies 00 1,620.00
Waste Treatment Supplies 277.48 8,707.28
Wet Lab Supplies 1,410.25 10,277.39
Other Production Supplies 3,426.22 16,663.02
37,781.41 118 , 256.98
Production Equipment
Dril] Room Equipment 80.00 458.00
Plating Room Equipment .00 1,058.80
Wet Lab Equipment 2,847.00 9,741.00
2,927.00 11, 257.80
Other Production Expenses
Overtime Premium 7,437.70 33,736.01
Fringe - Direct Labor 43,563.35 128,515.88
Health & Safety 429.33 1,634.11
Uniforms - Cintas 1,297.69 4,619.11
Uniforms ~ Other 00 420.80
Licenses & Fees 1,211.00 5,632.75
Expedited Material Expense 159.69 170.49
Tariff charges 315,00 1,105.00
Production Telephone 110.00 275,00
LDI Maintenance Agreemnt 11,916.65 35,749.95
CimNet Software Maint Contract (16,319, 88) (8,159.94)
Genisis Maintenance Contract 1,255.50 3,766.50
Freight-In 12,083.15 39,694.54
Freight In - China -04 (2,380.70)
Freight In - Italy 38.23 3,155.83
Freight In - Germany 00 231.28
Freight-Petroleum Surcharge 591.48 1,592.17
Freight-Hazardous Fee 165.31 408.86
Freight-Handling Charge 86.30 367.25
Frei ght-Out 3,585.37 8,824.10
Component costs on returns 331.20 2,492.58
a/c Callibration 30.00 7,934.43
Celtic CML-3691A01 Lease 2,230.00 6,690.00
Celtic OML-3691A02 lease 2,578.00 7,734.00
Celtic CML-3691A03 lease 2,959.00 8,877.00
Tetra Financial Group lease 18,463.56 55,510.68
Celtic CML-3691A04 Lease 6,899.00 20,697.00
Alliance Lease 8,402.20 25,206.60
Other Preduction Expense 424.80 1,395.30
110,303.67 395,900.58
Repairs & Maintenance
Air Compressors 3,542.79 11,290.94
HVAC System South Plant 3,250.72 11,556.14

Clannet 7

Cees’ Copyright © 1988 - 2021 Aptean Paradigrn® Version 4.0

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 36 of 42

Electrotek Corporation ID: SPOON
F0367F Page: 3
income Statement 04/16/2021 3:20:00 PM

As Of March, 2021

 

 

goons ---H- Current Year ---------- >

Current Month YTD

HVAC System North Plant 434.16 877.99
HVAC System West 334.83 779.68
Drake Chilter .00 61.05
Other Building R & M 906.69 1,465.68
A.0.I. Discovery I .00 82.50
A.0.1I, Discovery 2 -00 82.50
Processor -00 87.04
Other Tooling R&M 00 48.80
Optiline Post Etch Punch 360.00 360.00
TMP Multilayer Press #1 -00 75.08
TMP Multilayer Press #2 -00 517.38
Pluritec X-Ray Drilt -00 575.00
Pill] CobraBond Oxide Line 952 00 525.32
March Plasma Unit 296.00 3,734.30
Other Multilayer R&M 106.97 308.37
EX200 Dri11 810.00 810.00
689 Dril? (S/N 9014) 410.60 410.60
689 Drill (S/N 9016) 00 3,726.66
CNCS-B DriJ1 (S/N 001) 1,182.50 1,182.50
Drilling Spindles 1,030.50 4,914.90
Mark VI Orill (S/N 6612) 144.90 144,90
Other Drilling R& 887.50 887.50
VG! Developer 70.56 297 .80
Atotech Developer 728.00 728.00
Dry Film Solder Mask Unit -00 463.08
Cut Sheet Laminator 00 1,947.32
OLEC AT-30 (6KW) 00 3,995.00
ViaFi11/Planerizer/Rinsedry 3,948.94 4,994.43
PTH Plating Line 3,496.78 3,827.20
M.E. Baker Copper Line 3,464.60 4,779.86
Inner Layer Etch Strip Line 00 4,57
Chemcut Dry Film Stripper 00 459.01
Etch/Tin Strip Line (ME Baker) 00 604.90
Horizontal HAL 243.40 1,443.40
Chemcut Chemical Clean 240.00 2,615.77
Marseco Deburring Equipment 548.48 548.48
ENIG Line 607.93 6,606.04
DES Line -00 215.00
Direct Metalization 373.76 5,493.76
DES Line (s/n CC450-30) 4,979.23 14,809.79
Other Plating Room R&M 2,064.42 2,589.42
Other Waste Treatment R& 00 541.41
Screen Making Exposure Unit 69.38 69.38
Orbotech Sprint 8 Legend Ink 57.75 89.76
Other Screening Room R&M .00 2.52
Pumice Scrubber 273.72 624,93
OLEC (8KW) -00 815.00
OLEC AT-30 (8KW) 2,897.00 3,467.00
Other PISM R&M 43.17 166.37
Routing Spindles 1,970.00 1,970.00
Routing Machine Parts 23.63 23.63
Fab Dust Collector 120.00 120.00
Fab Arco Wand Dust Collector 550.00 550.00
Mark VI CNC-6 Router(s/n 0151) 630.00 630.00
Mark VI CNC-6 Router(s/n 0174) 637.50 637.50
Other Routing Room R&M 77.40 209.80
Score Blades -00 920.00
Cyclops Unit G0 80.00
Other Quality A/C R&M 00 66.49
Culligan RO/DI System 2,202.35 12,786.35
44,016.16 124,697.80

Clanner

_ wre” Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 
Electrotek Corporation

Income Statement

As Of March, 2021

 

 

 

 

 

 

 

 

 

Kr nrerecron Current Year ---------- >
Current Month YTD
Other Maintenance Expense
Tools 197.48 673,90
Supplies 1,224.04 1,922.07
Electrical Supplies 81.90 115.88
Plumbing Supplies - 00 158.59
Janitorial Supplies 1,713.91 4,944.51
Trash Disposal 1,630.70 4,891.91
Grounds Upkeep 00 5,815.27
Housekeeping 3,500.00 10, 000,00
Other Maintenance Expense 480.94 1,466.12
8,828.97 29,988,25
Environment & Waste
Licenses & Fees 1,087.05 3,642.43
Waste Recovery 9,651.62 29,589.30
Miscellaneous Recycle -00 150.00
10,738.67 33,381.73
Utilities
Electric 52,760.51 131,532.28
Gas 5,196.07 12,923.37
Water 2,103.94 24,708.75
Sewer 1,555.36 18,364.37
61,615.88 187,528.77
Building Expense
Real Estate Tax 4,693.88 12,857.14
Praperty Tax 81.05 81.05
4,774.93 12,938.19
Depreciation
Depreciation 45,061.22 123,428.56
45,061.22 123,428.56
791,429.67 2,513, 359.34
Gross Profit 430,478.42 619,003.72
Operating Expenses
Sales Expenses
Selling Salaries 12,957.84 33,361.07
Fringe Benefits 4,380.43 12,922.67
17,338.27 46,283.74
GA Salaries and Fringe
Administrative Salaries 15,865.26 43,548.27
Accounting Salaries 16,019.84 46,069.88
MIS Salaries 7,109.01 22,839.48
QA Salaries 9,391. 37 41,378.82
Fringe Benefits 13,961.40 41,187.40
62,346.88 195,023.85
Fringe
Vacation 13,859.08 42,910.35
Holiday Pay 11,828.57 32,399.99
ECSO Pay 00 1,400.90
FICA - Employer 20,532.72 62,434.21
UC - Federal 397.78 3,046.74
uC - State 6,773.18 21,824.57
Life AD&D 00 1,030.75
LTD Premiums - 00 5,240.22

Clainnest ¢
eoean
Slee

Copyright © 1988 - 2021 Aptean

Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 37 of 42

ID: SPOON
F0367F Page: 4
04/16/2021 3:20:00 PM

Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 38 of 42

Etectrotek Corporation ID: SPOON
F0367F Page: 5
Income Statement 04/16/2021 3:20:00 PM

As Of March,2021

 

 

 

 

 

 

 

Gor nnnon ne Current Year ---------- >
Current Month YTD
Cost of Health Insurance 36,444.05 106 , 667.04
Cost of Dental Insurance 3,814.70 7,529.76
Insurance Fees From Employees (12,181.58) (43,990.17)
Safety Shoes & Glasses 00 149.00
Worker's Compensation 6,486.39 19,459.29
401k Company Match 757.43 1,607.72
Fringe Benefit Offset (88,712.42) (261, 709.47)
€.00) -00
Office Supplies
Copier Lease 1,008.67 3,783.99
Copier Supplies -00 339.90
Telephone System Expense .00 652.00
Telephone Expense - G&A 34.86 2,907.04
Business Forms 76.16 598.40
Postage 141.85 $39.73
Postage Meter Rental 296.41 296.41
Other Office Supplies 528.13 1,081.78
2,086.08 10,199.25
MIS Expenses
MIS Software 4,592.99 6,257.49
MIS Hardware .00 985.32
MIS Repairs & Maintenance 822.00 822.00
5,414.99 8,064.81
Human Resources Expenses
Payroll] - ADP 1,430.16 6,623.81
Parties & Events 750.97 750,97
Recruitment Advertising 319.20 663.20
Orug Testing 61.50 369.00
Other Human Resources Expense 233.27 1,259.25
Seminar & Courses 5,165.00 5,165.00
7,960.10 14,831.23
Administrative Costs
Audit & Tax Service 3,379.59 9,257.15
Sales Discounts 108.57 360.52
Legal Fees 3,379.59 9,257.15
Travel -00 11.20
Meals & Entertainment .00 390.36
Consulting 8,775,00 19,929, 38
Business Insurance -00 01
Use Tax Expense -00 239.01
Sales Tax 1,399.54 3,822.83
First Business Bank Fees 280.00 690.00
Other Administrative Costs 2,384.67 8,032.65
19,706.96 51,990.26
114,853.28 326, 393.14
Operating Income 315,625.14 292,610.58
Other Income/ Expenses
Interest Expense
Interest - Insulectro (1,470.21) (6,228.66)
Interest Exp - Shareholder (65,125.00) (137,248.00)
(66,595.21) (143,476.66)
(66,595.21) (143,476.66)

 

Ee Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 39 of 42

Electrotek Corporation ID: SPOON
F0367F Page: 6
income Statement 04/16/2021 3:20:00 PM

As OF March, 2021

 

 

 

 

<oo--a----- Current Year ~---------: >

Current Month YTD

Net Income Before Tax 249,029.93 149,133.92
Net Income 249,029.93 149,133.92

 

Commies

Ce Copyright © 1988 - 2021 Aptean Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 40 of 42

Current Year
Current Month

 

Assets

Current Assets

Cash and Cash Equivalents

Petty Cash
Cash - Chase Bank

400.
1,069,646,

 

Accounts Receivable

Accounts Receivable
Allowance For Doubtful Account

00
93

1,970, 046.93

1,705,148.

27

(60,000.00)

 

 

 

 

 

1,645,148.27
Other Receivables
Scrap Receivable 51,500.00
P/R Clearing-Garnishments 944.63
P/R-Temporary Holding Acct (3,134.77)
P/R Clearing-AFLAC-Life 47,40
P/R Clearing-AFLAC-Health (815.33)
P/R Clearing-Colonial Life 1,470.00
50,011.93
Finished Goods/WIP Inventory
Finished Goods Inventory 5,708.00
Finished Goods - PP 75,511.00
Work-In-Process Inventory 975,121.00
Finished Goods Over Run Value 342,085.00
1,398,425.00
Inventory
Multilayer Inventory 641,681.59
Laminate Inventory 70,004.52
Photo Tooling Inventory 1,144.10
Drill Room BU/E Inventory 31,842.26
Print Room Inventory 15,216.83
Plating Room Inventory 38,538.13
Screening Room Inventory 19, 497-30
Routing Room Inventory 3,616.67
Plating Rm Inv-H&S Gold&Nick] 311,359.55
Plating Room Inv-Copper 20,324.36
Plating Inv- ENIG 57,414.60
Plating Room - Inv Silver 218.67
Plating Inv-Etching (SES&DES) 8,584.15
Plating Inv-HAL 6,029.24
Plating Inv-0SP 853.00
Plating Inv-Oxide 5,749.00
Plating Inv - PTH 16,765.04
Flex Material Inventory 28,142.17
1, 276,981.18
Total: Current Assets 5,440,613, 31
Other Assets
Prepaid Expenses
Transformer Power Outage Casts 174,206.41
Prepaid and Deposits 308, 628.06

Travelers Transformer Reimburs

 

(485,891.85)

 

Transformer Consultant Reimbur 35,043.99
31,986.61

Land and Building
Land 186,000.00
Building 3,237,572.88

es

Copyright © 1988 - 2021 Aptean

Electrotek Corporation

Balance Sheet

As of March, 2021

ID: SPOON
FO367E Page: 1
04/16/2021 3:19:37 PM

Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 41 of 42

Current Year
Current Month

 

 

 

 

 

 

 

 

Land Improvements 21,227.00
Accum Deprec - Building (1,502, 915.05)
1,941, 884.83
M&E/ F&F
Machinery & Equipment 10,073 ,025.71
Furniture & Fixtures 663,091.79
Accum Deprec - ME (9,119, 805.36)
Accum Deprec - F&F (662,733.11)
953,579.03
Total: Other Assets 2,927,450.47
Total: Assets 8, 368,063.78
Liabilities

Current Liabilities
Accounts Payable

 

 

 

 

Accounts Payable 2,977, 826.52
Accrued Accounts Payable 183,875.33
Credit Card Accrued Payable 25,561.73
Account Payable - Checks Cut 31,435.62
Electro Plate 1,027,252.91
4,245,952.11
Accrued Expenses - Other

Accrued Wages 90,978.03
Accrued Holiday Pay 20,949.87
Accrued Real Estate Taxes 12 857,14
Accrued Legal & Audit Fees 8,607.40
Reserve Tariff Reimburement 45,705.29
Accrued FICA 6,959.82
Accrued Vacation Pay 159,198.45
Accrued Interest - Shareholder 868,542.00
1, 213,798.00

Current Portion of LT Debt
Note Payable Insulectro 338,840.68
338,840.68
Total; Current Liabilities 5,798,590.79

 

Long-Term Liabilities
Long Term Debt

 

 

 

 

Texas Champion Bank - PPP #2 1,188,252.00

Texas Champion Bank - PPP #1 1,316 ,935.71
Shareholder Loan - Chase 300.00
Shareholder Note #1 1, 100,000.00
Shareholder Note #2 5,200,000.00

8, 805,487.71

Total: Long-Term Liabilities 8,805 487.71
Total: Liabilities 14, 604,078.50

 

Shareholders Equity
Shareholders Equity
Common Stock

Clanies F
Geneva
VS

Copyright © 1988 - 2021 Aptean

Electrotek Corporation

Balance Sheet

As of March, 2021

ID: SPOON
FO367E Page: 2
0416/2021 3:19:37 PM

Paradigm® Version 4.0

 
Case 21-30409-mvl11 Doc 26 Filed 04/20/21 Entered 04/20/21 17:56:33 Page 42 of 42

Current Year
Current Month

 

Common Stock - Class A

33,872.31

 

Additional Paid In Capital
Paid-In-Capital

33,872.31

3,674, 866.90

 

Retained-barnings-Gurredt-Year

3,674,866.90

 

Retained Earnings-Prior Year
Retained Earnings

149,133.92

(5,297,051. 84)

 

Tax Distributions
Tax Dividend Distributions

(5,297,051. 84)

(4,796, 836.01)

 

(4,796, 836.01)

 

Total: Shareholders Equity

(6, 236,014.72)

 

 

Total: Liabilities
Shareholders Equity

8, 368,063.78

 

Clinnes ¢

\seem” Copyright © 1988 - 2021 Aptean

Electrotek Corporation

Balance Sheet

As of March, 2021

D; SPOON
F0367E Page: 3
04/16/2021 3:19:37 PM

Paradign@® Version 4.0

 
